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    1 LUIS LI (State Bar No. 156081)
      Luis.Li@wsgr.com
    2 ERIC P. TUTTLE (State Bar No. 248440)
      Eric.Tuttle@wsgr.com
    3 WILSON SONSINI GOODRICH & ROSATI
      633 West Fifth Street, Suite 1550
    4 Los Angeles, California 90071
      Telephone: (323) 210-2900
    5 Facsimile: (866) 974-7329
    6 CRAIG JENNINGS LAVOIE (State Bar No. 293079)
      Craig.Lavoie@mto.com
    7 JENNIFER L. BRYANT (State Bar No. 293371)
      Jennifer.Bryant@mto.com
    8 MUNGER, TOLLES & OLSON LLP
      350 South Grand Avenue, Fiftieth Floor
    9 Los Angeles, California 90071-3426
      Telephone: (213) 683-9100
   10 Facsimile: (213) 687-3702
   11 Attorneys for Plaintiff Vanessa Bryant
   12 [Additional counsel continued on next page]
   13
                                  UNITED STATES DISTRICT COURT
   14
                   CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   15
   16 VANESSA BRYANT,                                     Case No. 2:20-cv-09582-JFW-E
                                                          (Consolidated with 2:20-cv-10844-
   17                    Plaintiff,                       JFW-E)
   18              vs.                                    JOINT STATEMENT RE:
                                                          EXHIBITS 668A-668BR
   19 COUNTY OF LOS ANGELES, et al.,
   20                    Defendants.                      Trial Date: August 10, 2022
   21                                                     The Honorable John F. Walter
   22 CHRISTOPHER L. CHESTER,
   23                    PLAINTIFF,
   24              vs.
   25
        COUNTY OF LOS ANGELES, et al.,
   26
                         Defendants.
   27
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        573757.1
                                      JOINT STATEMENT RE: EXHIBITS 688A-668BR
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    1 [Additional counsel, continued from previous page]
    2 JEROME M. JACKSON (State Bar No. 64238)
      jmjlaw@aol.com
    3 JEROME M. JACKSON LAW OFFICES
      880 Apollo Street, Suite 238
    4 El Segundo, California 90245
      Telephone: (310) 726-4199
    5 Facsimile: (310) 414-0486
    6 Attorneys for Plaintiff
      CHRISTOPHER L. CHESTER
    7
      LOUIS R. MILLER (State Bar No. 54141)
    8 smiller@millerbarondess.com
    9 MIRA HASHMALL (State Bar No. 216842)
      JASON H. TOKORO (State Bar No. 252345)
   10 CASEY B. SYPEK (State Bar No. 291214)
   11 MILLER BARONDESS, LLP
      1999 Avenue of the Stars, Suite 1000
   12 Los Angeles, California 90067
   13 Tel.: (310) 552-4400 | Fax: (310) 552-8400
   14 Attorneys for Defendants
   15 COUNTY OF LOS ANGELES, LOS ANGELES COUNTY FIRE DEPARTMENT,
      JOEY CRUZ, RAFAEL MEJIA, MICHAEL RUSSELL, RAUL VERSALES ,
   16
      ARLIN KAHAN, and TONY IMBRENDA
   17
   18
        JONATHAN C. McCAVERTY (State Bar No. 210922)
   19   Principal Deputy County Counsel
        jmccaverty@counsel.lacounty.gov
   20
        OFFICE OF THE COUNTY COUNSEL
   21   General Litigation Division
        500 West Temple Street, Suite 468
   22
        Los Angeles, California 90012
   23   Tel.: (213) 974-1828 | Fax: (213) 626-7446
   24
      Attorneys for Defendant
   25 LOS ANGELES COUNTY SHERIFF’S DEPARTMENT
   26
   27
   28
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                             JOINT STATEMENT RE: EXHIBITS 668A-668BR
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    1                       EXHIBIT 668 DISPUTED INSTAGRAM POSTS
    2              In response to the Court’s August 11, 2022 Order (Dkt. 388), Defendants
    3 divided Trial Exhibit 688 into separate exhibits by individual Instagram post. This
    4 resulted in 70 individual Exhibits (TREX668A-668BR). After Defendants sent
    5 Plaintiffs a revised Pre-Trial Exhibit stipulation on August 12, 2022, Plaintiffs sent
    6 Defendants a response identifying objections to some but not all of Defendants’
    7 exhibits. The parties met and conferred by phone and email to narrow the disputes.
    8              Having met and conferred, Plaintiffs have no objection to the following
    9 exhibits: 668A, 668B, 668C, 668E, 668F, 668G, 668I, 668J, 668K, 668L, 668P,
   10 668R, 668T, 668V, 668W, 668X, 668AC, 668AL, 668AP.0001, 668AZ, 668BB,
   11 668BN, 668BP, and 668BQ..
   12              Defendants have withdrawn the following exhibits: 668D, 668M, 668N,
   13 668O, 668Q, 668U, 668Y, 668Z, 668AA, 668AB, 668AD, 668AE, 668AF, 668AK,
   14 668AM, 668AN, 668AQ, 668AR, 668AS, 668AT, 668AU, 668AW, 668AY,
   15 668BA, 668BC, 668BD, 668BF, 668BG, 668BH, 668BK, 668BM, 668BO, and
   16 668BR.
   17              The parties were not able to resolve objections to the following exhibits,
   18 which are discussed herein: 668H, 668S, 668AG, 668AH, 668AI, 668AJ, 668AO,
   19 668AV, 668AX, 668BE, 668BI, 668BJ, and 668BL.
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    1 I.      Exhibit 668H
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   15         Plaintiffs’ Grounds for Objection: Relevance (FRE 402); unfair prejudice,
   16 confusion, and/or waste of time (FRE 403); inadmissible hearsay (FRE 802).
   17         Defendants’ Response to the Objection: Exhibit 668 is collection of
   18 Instagram posts made by Plaintiff Vanessa Bryant. They are directly relevant to her
   19 claims of severe emotional distress. In fact, Rob Pelinka, one of the witnesses Mrs.
   20 Bryant called to testify at trial to support her claims of emotional distress, put Mrs.
   21 Bryant’s Instagram account directly at issue: “I know how intentional she is to
   22 create beauty around her kids. And that involves the images and the portrayals and
   23 hope and joy and everything that she chooses to put up in her house and on her
   24 Instagram.” (Aug. 10, 2021 Tr. at 181:2-5.) Mrs. Bryant now complains that
   25 Defendants seek to introduce posts from her Instagram to disprove her claims. She
   26 cannot have it both ways.
   27         Exhibit 668H is a screenshot of a portion of a Forbes article stating that
   28 Island Express Helicopters received government funding as part of the CARES

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    1 program. In the accompanying description, Mrs. Bryant posts a series of broken
    2 heart emojis. Exhibit 668H provides direct evidence of an independent source of
    3 distress in Mrs. Bryant’s life—separate from Defendants’ alleged conduct.
    4         Mrs. Bryant’s post reflects a concurrent stressor in her life that the jury is
    5 entitled to consider in evaluating her claims that Defendants’ taking and sharing of
    6 crash site photos caused her severe emotional distress. Specifically, Mrs. Bryant’s
    7 post reflects her distress over the activities of Island Express Helicopters in the
    8 months following the crash. She was so focused on the company and the harm that
    9 it caused her as a result of losing her husband and daughter that she took it upon
   10 herself to criticize publicly its receipt of government funding. Plaintiff’s emotional
   11 state is at the center of this case, and there is little more revealing of Mrs. Bryant’s
   12 emotional state than her own words about her life, sadness, the targets of her anger,
   13 her activities, and other stressors that could contribute to any emotional distress.
   14 See, e.g., E.E.O.C. v. California Psychiatric Transitions, 258 F.R.D. 391, 400 (E.D.
   15 Cal. 2009) (a party may investigate other causes of claimed emotional distress). Her
   16 distress over this post can be seen through the broken heart emojis. The post also
   17 references her husband and daughter—another reminder of her loss.
   18         This post also stands in stark contrast to the fact that Mrs. Bryant has never
   19 posted to social media anything about the crash site photos or her claimed emotional
   20 distress from the conduct alleged in her complaint. Defendants are entitled to argue
   21 that this shows Mrs. Bryant’s emotional distress is due to the loss of her husband
   22 and daughter, and not the crash site photos.
   23         Plaintiffs are wrong that Exhibit 668H implicates the Court’s ruling on
   24 Plaintiffs’ Motion in Limine No. 3. The article and corresponding emojis posted by
   25 Mrs. Bryant have nothing to do with Plaintiffs’ lawsuit or subsequent settlement
   26 with Island Express Helicopters. Even if Exhibit 668H did implicate the Island
   27 Express settlement (it does not), Defendants are not barred from discussing the
   28 lawsuit in relation to the impact it may have had on Mrs. Bryant’s mental state. As

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    1 explained by the Court at the July 26, 2020 Final Pretrial Conference: “the Court
    2 will not necessarily preclude defendants from introducing evidence of or cross-
    3 examining plaintiff on the impact of her involvement in other lawsuits including the
    4 lawsuit regarding the helicopter crash has had on her mental status after the crash.”
    5 [Jul. 26, 2022 Final Pretrial Conference Hearing Tr. at 81:2-10.]
    6         The jury must evaluate Plaintiff’s claims of emotional distress largely by her
    7 own words and actions. Mrs. Bryant did not seek medical treatment or therapy, and
    8 has never received a medical diagnosis. She also refused to sit for an independent
    9 medical examination in this case. Her public statements—which are party
   10 admissions and present sense impressions, see Fed. R. Evid. 803(1)—are critical
   11 evidence relevant to Mrs. Bryant’s claims.
   12 Plaintiffs’ Response: Exhibit 668H depicts an update from Forbes that the
   13 helicopter operator involved in the death of Mrs. Bryant’s loved ones had received
   14 funding under the CARES Act (the “Covid-19 Economic Relief” Act). The exhibit
   15 also includes a caption with broken heart emojis. This post is irrelevant and
   16 inadmissible under Federal Rule of Evidence 403.
   17         Although Defendants apparently wish to introduce this post to suggest that
   18 Mrs. Bryant was unhappy about the helicopter company’s funding, Mrs. Bryant’s
   19 reaction to that news is not probative of any issue, including damages. Mrs. Bryant
   20 seeks damages for the emotional harm caused by Defendants’ misconduct, including
   21 disgust at the intrusion upon her grief, distress at the mistreatment of her loved ones’
   22 remains, and persistent fear that she may confront those images online at any time
   23 given Defendants’ failure to preserve and destroy the photographs. Mrs. Bryant’s
   24 emoji reaction to learning about payment of pandemic relief is not remotely
   25 comparable to that ongoing emotional harm and fear.
   26         Defendants’ attempt to introduce Exhibit 668H is also contrary to the Court’s
   27 guidance on evidence about the helicopter lawsuit and settlement. The Court granted
   28 Mrs. Bryant’s Motion in Limine No. 3 to exclude “any reference to the settlement of

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    1 the lawsuit against the helicopter operator.” (Templeton Decl. Ex. A. [July 26, 2022
    2 Hearing Tr.] at 80:19-21.) The Court also sustained Mrs. Bryant’s relevance and
    3 Rule 403 objections Defendants’ Exhibits 91, 672, and 675—all pleadings from
    4 Mrs. Bryant’s lawsuit against the helicopter company. (Decl. Ex. A. Tr. 7-26-22 at
    5 80:23-81:1 (sustaining objections to Trial Exhibits 91, 672, and 675.) In issuing
    6 those orders, the Court noted the minimal probative value of evidence about the
    7 prior litigation and the high risk of confusion and undue prejudice.
    8         Like the pleadings in Mrs. Bryant’s case, and the settlement documents, Mrs.
    9 Bryant’s reaction to a news post is not probative of the distress Mrs. Bryant has
   10 experienced as a result of Defendants’ conduct. Instead, introducing this post raises
   11 a substantial risk of confusing the jurors into believing that responsibility for the
   12 helicopter crash is somehow at issue in this case—which is contrary to the Court’s
   13 instructions. (Dkt. 358 at 72 (Court-Ordered Instruction No. 57).)
   14 II.     Exhibit 668S
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                               JOINT STATEMENT RE: EXHIBITS 668A-668BR
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    1         Plaintiffs’ Grounds for Objection: Relevance (FRE 402); unfair prejudice,
    2 confusion, and/or waste of time (FRE 403). See, e.g., Caldwell v. Wal-Mart Stores,
    3 Inc., 229 F.3d 1162 (10th Cir. 2000) (holding that district court properly rejected
    4 evidence regarding plaintiff’s motivation to bring suit as irrelevant and unfairly
    5 prejudicial).
    6         Defendants’ Response to the Objection: Exhibit 668S is a post depicting
    7 the caption page of the First Amended Complaint in this action. In the post, Mrs.
    8 Bryant has drawn a red box around the names the defendants, including the
    9 individual deputy defendants. Plaintiff has represented to the jury that this case is
   10 about the aggravation of her grief and resulting emotional distress. However, Mrs.
   11 Bryant’s real time conduct of displaying the names of the individual deputies to her
   12 approximately 15.5 million Instagram followers creates a strong inference that this
   13 case is actually about revenge.
   14         Plaintiffs cite a litany of cases for the proposition that a plaintiff’s motivation
   15 for initiating litigation is not relevant to the litigation itself. The cases relied upon
   16 by Plaintiffs are inapposite, as none of them deal with a situation where the only
   17 basis for damages is the alleged emotional distress of the plaintiff. See Collins v.
   18 Del Taco, Inc., 2005 WL 3789357, at *3 (C.D. Cal. Feb 24, 2005) (subjective
   19 motive for bringing a lawsuit under the Americans With Disabilities Act not
   20 relevant to whether there was in fact a violation under the Act); Caldwell v. Wal-
   21 Mart Stores, Inc., 229 F.3d 1162, 2000 WL 1335564, at *5 (10th Cir. 2000)
   22 (plaintiffs intention to use money obtained from litigation to pay off unrelated debt
   23 was not relevant); Johnson v. King-Richardson Co., 36 F.2d 675, 677 (1st Cir. 1930)
   24 (motive for initiating action not relevant in shareholder derivative action); Davis v.
   25 Phenix City, Alabama, 2008 WL 11511788, at *1 (M.D. Ala. Feb. 28, 2008)
   26 (speculation that employee’s lawsuit against employer was filed as retaliation for
   27 employer firing employee’s friend not relevant); Krakover v. Mazur, 48 F.3d 341,
   28 344 (8th Cir. 1995) (so long as a plaintiff is seeking the actual remedy requested, the

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    1 motives for pursuing suit are irrelevant for purposes of abuse of process action
    2 under Missouri law). The plaintiffs’ mental condition was not at issue in any of
    3 these cases.
    4         In contrast to the aforementioned cases, Mrs. Bryant’s mental state is one of
    5 the central issues in this action and her alleged emotional distress is the only basis
    6 for damages. In this context, the fact that Mrs. Bryant may be pursing this litigation
    7 as a form of revenge bears directly on her claim that she suffers from severe
    8 emotional distress. Defendants are entitled to ask the jury to assess Mrs. Bryant’s
    9 claim of severe emotional distress by looking at her prior statements—including
   10 statements she has made about this litigation. Rosales v. Crawford and Company,
   11 No. 2:20-cv-02540 JAM AC, 2021 WL 4429468, at *6 (E.D. Cal. Sept. 7, 2021)
   12 (“information from social media is relevant to claims of emotional distress because
   13 social media activity, to an extent, is reflective of an individual’s contemporaneous
   14 emotions and mental state.”); see also E.E.O.C. v. Simply Storage Management,
   15 LLC, 270 F.R.D. 430, 436 (S.D. Ind. 2010) (context and appearance of plaintiff in
   16 pictures posted on social media relevant to assessment of plaintiff’s emotional or
   17 mental status). The jury should not be limited to evaluating Mrs. Bryant’s purported
   18 distress based only on what she says after preparation with her lawyers at deposition
   19 and at trial. Rather, the jury is entitled to a complete view of Mrs. Bryant’s
   20 statements and actions so that it may test her credibility and determine whether she
   21 in does in fact suffer from severe emotional distress, as she claims
   22         Additionally, Exhibit 668S shows Mrs. Bryant publicly commenting about
   23 this litigation on the Internet—the very medium she claims is the source of her
   24 emotional distress. Mrs. Bryant has put her use of the Internet directly at issue in
   25 this case. Exhibit 668S not only shows her willingness to continue to engage with
   26 the public on the Internet, but more significantly, it demonstrates a willingness to
   27 publicize and draw attention to the alleged conduct at issue in this case. The jury
   28 should decide whether this behavior is consistent with someone who is suffering

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    1 severe emotional distress relating to a purported lack of privacy and fear of
    2 engaging with the Internet.
    3        There are also no 403 concerns with introducing Exhibit 668S. Its probative
    4 value far outweighs any risk that jurors may be confused that additional defendants
    5 are listed in the caption. To the extent the Court is concerned with that, it can give a
    6 limiting instruction to the jury. Plaintiffs’ arguments that the jury may infer an
    7 improper purpose from Mrs. Bryant’s own post is likewise without merit. The jury
    8 is entitled to consider Mrs. Bryant’s anger, distress, and any other emotion that tends
    9 to disprove her claims of severe emotional distress.
   10        Emotional distress cannot be objectively assessed in the same way as a
   11 physical injury. The jury must evaluate Plaintiff’s claims of emotional distress
   12 largely by her own words and actions. It would be profoundly unfair if all the jury
   13 heard about Mrs. Bryant’s claimed distress was what Plaintiffs present at trial. Mrs.
   14 Bryant’s out-of-court statements are critical, irreplaceable evidence, especially
   15 because Defendants have not be able to conduct an independent medical
   16 examination of Mrs. Bryant in this case.
   17        Plaintiffs’ Response: Exhibit 668S is a post depicting the caption of the First
   18 Amended Complaint in this action with a red box around Defendants’ section. It
   19 contains no comments by Mrs. Bryant or any other Instagram user. Mrs. Bryant
   20 posted this image on March 17, 2021—nine days after the Court’s denial of
   21 Defendants’ application to seal the names of the individual deputies named as
   22 defendants in Plaintiff’s First Amended Complaint. See Dkt. 53. As explained by the
   23 Court, “[m]isconduct by individual officers, incompetent internal investigations, or
   24 questionable supervisory practices must be exposed if they exist.’” (Dkt. 53 (quoting
   25 Welsh v. City & Cnty. of S.F., 887 F. Supp. 1293, 1302 (N.D. Cal. 1995).) Although
   26 Defendants omit the surrounding posts, Exhibit 668S is part of a series of posts in
   27 which Mrs. Bryant expresses her gratitude about the Court’s denial of Defendants’
   28 sealing application. (Templeton Decl. Ex. B.)

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    1         The photo is irrelevant and even if it had minimal relevance it would be
    2 inadmissible under Federal Rule of Evidence 403. Neither Mrs. Bryant’s opposition
    3 to Defendants’ application to seal the names of the individual deputies nor the
    4 Court’s ruling on that application have any bearing on the issues in this case.
    5 However, the post is likely to confuse the jurors and require evidence about
    6 collateral issues, such as Mrs. Bryant’s motivation for litigation.
    7         During the parties’ meet-and-confer conference, Defendants asserted three
    8 relevance theories—each of which collapses on examination. First, Defendants
    9 argue that the photo is relevant to establish that participating in this lawsuit has
   10 caused Mrs. Bryant’s emotional distress. But the photo says nothing about how (if at
   11 all) the litigation itself has affected Mrs. Bryant’s emotional injuries. It is merely an
   12 annotated caption without any accompanying narrative.
   13         Second, Defendants argue that the post is relevant to establishing Mrs.
   14 Bryant’s motivation for bringing the lawsuit. This argument fails for two reasons.
   15 To begin, even if Mrs. Bryant’s motivations were relevant (they are not), Exhibit
   16 668S has no tendency in reason to establish what her motivations actually were.
   17 Naming defendants and making allegations about them in public-facing pleadings is
   18 a basic litigation function common to every plaintiff who initiates litigation. The
   19 mere act of posting a document that identifies the defendants in the case by name
   20 says nothing about the plaintiff’s individual motives.
   21         But even if Exhibit 668S did cast light on Mrs. Bryant’s motivations, her
   22 motivations are themselves irrelevant. Cases are decided according to the law, not
   23 “the subjective motives of the litigants.” Collins v. Del Taco, Inc., 2005 WL
   24 3789357, at *3 (C.D. Cal. Feb 24, 2005). A plaintiff’s subjective motivation “does
   25 not shed any light as to the probable merit of the claims and allegations they
   26 asserted in this case.” Id. For that reason, courts have consistently found that
   27 evidence of a plaintiff’s reasons for pursuing a lawsuit is irrelevant and not
   28 admissible. See, e.g., Caldwell v. Wal-Mart Stores, Inc., 229 F.3d 1162, 2000 WL

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    1 1335564, at *5 (10th Cir. 2000) (court properly excluded testimony regarding
    2 plaintiffs motive in bringing suit because, absent fraud, “evidence of [plaintiffs]
    3 financial motivation to bring the suit was not relevant to any of the issues in this
    4 case”); Krakover v. Mazur, 48 F.3d 341, 344 (8th Cir. 1995) (“As long as a plaintiff
    5 is seeking the remedy requested, his bad motives for pursuing the suit are
    6 irrelevant.”); Johnson v. King-Richardson Co., 36 F.2d 675, 677 (1st Cir. 1930)
    7 (“[W]here a suitor is entitled to relief in respect to the matter concerning which he
    8 sues, his motives are immaterial . . . .”); Davis v. Phenix City, Alabama, 2008 WL
    9 11511788, at *1 (M.D. Ala. Feb. 28, 2008) (“The issue in this case is why [plaintiff]
   10 was fired; it is not why [plaintiff] filed this lawsuit.”).
   11         Third, Defendants argue that Exhibit 668S is relevant because employees of
   12 Defendants experienced harassing commentary from unidentified Internet users or
   13 members of the public after Mrs. Bryant’s post. Such commentary from non-parties
   14 to the litigation has no tendency to prove or disprove any fact at issue in this
   15 litigation. This trial is about the constitutional violations committed by Defendants’
   16 personnel, the institutional failings that caused those violations, and the resulting
   17 harm to Plaintiffs. It is not a referendum on Mrs. Bryant or her social media posts,
   18 or a case about the distress Defendants say they suffered when they were called out
   19 for their misconduct. Cf. Thorne v. Member Select Ins. Co., 2016 WL 2956698, at
   20 *2 (N.D. Ind. May 23, 2016) (excluding evidence of “pecuniary and emotional
   21 effect” of the lawsuit because it was not relevant to claims).
   22         Even if Exhibit 668S had some minimal probative value, it should be
   23 excluded because its probative value is substantially outweighed by the risk of
   24 unfair prejudice. See Fed. R. Evid. 403. Permitting this post into evidence allows
   25 Defendants to infer that Mrs. Bryant is pursuing this litigation for an improper
   26 purpose which is both false and highly prejudicial. Further, if Defendants are
   27 entitled to present false inferences about Mrs. Bryant’s motivations, Mrs. Bryant
   28 will need to rebut those inferences by presenting evidence about why the complaint

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    1 was unsealed, the positions Defendants took, and why the Court sided with Plaintiffs
    2 and rejected Defendants’ sealing request. Such testimony would take the jury far
    3 afield without contributing anything useful to their understanding of the case.
    4         This evidence risks confusion for the additional reason that the caption lists as
    5 defendants individual deputies who are not in fact defendants in this Monell trial. Cf.
    6 Calloway v. Hayward, 2017 WL 363000, at *3 (E.D. Cal. Jan. 24, 2017)
    7 (“Testimony or evidence about dismissed Defendants or claims and unrelated claims
    8 and individuals is irrelevant and is excluded.”). Identifying the deputies as
    9 defendants in a trial exhibit could cause the jurors to mistakenly believe that those
   10 individuals are defendants in this trial. Alternatively, it could cause jurors to
   11 speculate about why the individual deputies are not defendants in this trial. This
   12 could unfairly prejudice Plaintiff, as the jury could assume that Mrs. Bryant’s claims
   13 against the individual deputies were unsuccessful.
   14 III.    Exhibit 668AG
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    1         Plaintiffs’ Grounds for Objection: Relevance (FRE 402); unfair prejudice,
    2 confusion, and/or waste of time (FRE 403). The Court’s ruling on Plaintiffs’ MIL
    3 No. 3 precludes the parties from introducing “evidence of or mak[ing] reference to
    4 plaintiff’s financial condition.”
    5         Defendants’ Response to the Objection: Mrs. Bryant’s entire case is about
    6 emotional distress—it is the only form of damages she is seeking. (See FAC ¶¶ 86,
    7 92, 98, 105, 113.) In order to succeed, she must prove that Defendants’ sharing of
    8 crash scene photos caused her “severe emotional distress.” See, e.g., Brown v. USA
    9 Taekwondo, 11 Cal. 5th 204, 213 (2021) (no viable negligence claim unless “the
   10 breach was the proximate or legal cause of the resulting injury” (citation omitted)).
   11         Defendants are entitled to defend against such claims by showing that other
   12 factors in Mrs. Bryant’s life caused her distress. See Williams v. County of San
   13 Diego, 2020 WL 2991515, at *4 (S.D. Cal. June 3, 2020) (“In defending against
   14 Plaintiffs’ damages claims, Defendant is entitled to show that ‘other factors’
   15 contributed to Plaintiff’s emotional distress.” (citation omitted)); Cal. Psychiatric
   16 Transitions, 258 F.R.D. at 400 (“Defendant should be able to determine whether
   17 Plaintiff’s emotional state may have been effected by something other than
   18 Defendant’s alleged actions.”); Doe v. City of Chula Vista, 196 F.R.D. 562, 568
   19 (S.D. Cal. 1999) (“For each item of damages, whether economic or noneconomic,
   20 the plaintiff must show that the damage was proximately caused by the defendant’s
   21 unlawful conduct. In turn, [the defendant] is entitled to show that other factors
   22 contributed to the plaintiff’s damage.”).
   23         Exhibit 668AG is an August 2, 2021 public Instagram post by Mrs. Bryant
   24 regarding a trip to Saint-Tropez, France. Evidence of Mrs. Bryant’s travels,
   25 activities, and online posts are relevant to Plaintiff’s claims. Mrs. Bryant’s ability to
   26 travel out of the country for extended periods of time is highly probative of her
   27 mental and emotional state. See, e.g., Rosales v. Crawford and Company, No. 2:20-
   28 cv-02540 JAM AC, 2021 WL 4429468, at *6 (E.D. Cal. Sept. 27, 2021)

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    1 (“information from social media is relevant to claims of emotional distress because
    2 social media activity, to an extent, is reflective of an individual’s contemporaneous
    3 emotions and mental state.”); see also E.E.O.C. v. Simply Storage Management,
    4 LLC, 270 F.R.D. 430, 436 (S.D. Ind. 2010) (context and appearance of plaintiff in
    5 pictures posted on social media relevant to assessment of plaintiff’s emotional or
    6 mental status).
    7         The admission of multiple exhibits depicting Mrs. Bryant in different
    8 countries is necessary to provide the jury with the full context of Mrs. Bryant’s
    9 travels and associated mental state. That she can travel from location to location
   10 and country to country within the same trip reflects on her mental condition and
   11 ability to deal with the stresses of traveling.
   12         Plaintiff contends that she has suffered severe emotional distress because of
   13 Defendants’ conduct. Defendants are entitled to ask the jury to assess this claim by
   14 looking at Mrs. Bryant’s actions and statements since she became aware of the
   15 alleged conduct. Plaintiff’s position is that the jury can only assess her emotional
   16 distress by what she says after preparation with her lawyers at deposition and at
   17 trial. That is not how it works. The jury should be presented with a full picture of
   18 Plaintiff’ day-to-day life during the time period at issue. Plaintiff’s
   19 contemporaneous statements are the best evidence of her emotional state.
   20         Mrs. Bryant has put her use of the Internet directly at issue in this case. She
   21 claims that as a result of Defendants’ conduct she avoids going online and checking
   22 her social media accounts. The frequency and content of Mrs. Bryant’s Instagram
   23 posts are inconsistent with her claims. The jury is entitled to consider this evidence.
   24         The risk of prejudice does not “substantially” outweigh the significant
   25 probative value of Exhibit 668AG. Plaintiff argues that this exhibit should be
   26 excluded because the Court’s ruling on MIL 3 precludes the parties from
   27 introducing “evidence of or mak[ing] reference to plaintiff’s financial condition.”
   28 This photograph has nothing to do with Mrs. Bryant’s wealth; nor does it contain

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    1 any indicia of her financial condition. By Plaintiff’s argument, almost anything
    2 touching on Mrs. Bryant’s lifestyle must be excluded, no matter how probative.
    3         The jury must evaluate Plaintiff’s claims of emotional distress largely by her
    4 own words and actions. Mrs. Bryant did not seek medical treatment or therapy, and
    5 has never received a medical diagnosis. She also refused to sit for an independent
    6 medical examination in this case. Her public statements—which are party
    7 admissions and present sense impressions, see Fed. R. Evid. 803(1)—are critical
    8 evidence relevant to Mrs. Bryant’s claims.
    9         Plaintiffs’ Response: Exhibit 668AG is a post dated August 2, 2021 that
   10 shows Mrs. Bryant and a friend on vacation in St. Tropez, France. It is irrelevant,
   11 unfairly prejudicial, and contrary to the Court’s ruling Plaintiff’s MIL No. 3.
   12         Mrs. Bryant’s social and recreational activities are irrelevant to determining
   13 whether (and to what extent) she has suffered emotional distress from Defendants’
   14 unconstitutional sharing of photos of her loved ones’ remains. The mere fact that
   15 Mrs. Bryant has travelled internationally in the period since the helicopter crash has
   16 no tendency to establish the extent of the grief, stress, and other emotional harm
   17 caused by Defendants’ conduct.
   18         Even if this evidence were relevant (it is not), Exhibit 668AG would still be
   19 inadmissible under Rule 403 because it is unfairly prejudicial and contrary to the
   20 Court’s ruling on Plaintiffs’ MIL No. 3. Exhibit 668AG depicts Plaintiff wearing
   21 fashionable clothing at a high-end vacation destination. This evidence necessarily
   22 invites jurors to think about Plaintiffs’ financial status and may be used to insinuate
   23 that Mrs. Bryant’s financial status makes her injury inconsequential or that it
   24 mitigates any damages she endured and will continue to endure.
   25         This risk of unfair prejudice is magnified by the fact that Exhibit 668AG is
   26 cumulative of other exhibits, which also show Mrs. Bryant traveling during the same
   27 general period. Defendants have no legitimate purpose for admitting any of these
   28 images, much less numerous images with near-identical content.

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    1         Defendants resist these arguments by arguing that they need Exhibit 668AG
    2 (and other photos like it) to establish the fact that Plaintiff took an overseas
    3 vacation, and that she visited specific locations. But Defendants’ refusal to stipulate
    4 to reasonable alternatives belies that contention and underscores their actual
    5 intention—namely, presenting backdoor evidence of Mrs. Bryant’s financial status.
    6         As part of the parties’ meet-and-confer, Mrs. Bryant offered to stipulate to the
    7 admission of Exhibit 668AF, which is a post from the same trip, if Defendants
    8 withdrew other exhibits from the trip, including Exhibit 668AG. (Templeton Decl. ¶
    9 4; Ex. C.) The post Mrs. Bryant agreed to stipulate to—Exhibit 668AF—is a photo
   10 that Defendants included in their original Exhibit 668 and in their updated pretrial
   11 exhibit stipulation for Exhibit 668, which contains a caption that identifies
   12 destinations on Mrs. Bryant’s travel itinerary. (See Templeton Decl. Ex. D [TREX
   13 668AF] (“The last 2 weeks in Europe were so nice. Loved getting to spend extra QT
   14 time with my girls. Photo Dump to follow…. Croatia, France & Italy.”).) That
   15 caption satisfies Defendants’ stated need for evidence that Mrs. Bryant travelled to
   16 the specified locations while minimizing the risk of unfair prejudice arising from the
   17 association between pictures of those locations (and Mrs. Bryant’s activities there)
   18 and her financial status, as required by the Court’s ruling on MIL No. 3.
   19 Nonetheless, Defendants not only rejected Plaintiffs’ compromise offer but
   20 withdrew TREX 668AF completely from their list of trial exhibits.
   21         To the extent Defendants want to question Mrs. Bryant about her family trip
   22 to Europe in summer 2021, Exhibit 668AF is sufficient. It states both the duration of
   23 the trip (two weeks) and the locations visited (Croatia, France, and Italy). There is
   24 simply no need to introduce further risk of unfair prejudice by introducing photos
   25 from each stop on the itinerary. Defendants’ rejection of this offer suggests that
   26 Defendants’ stated need for the evidence is pretextual and that Exhibit 668AG is in
   27 fact intended to inject Mrs. Bryant’s financial status into the case.
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    1 IV.     Exhibit 668AH
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   15         Plaintiffs’ Grounds for Objection: Relevance (FRE 402); unfair prejudice,
   16 confusion, and/or waste of time (FRE 403). The Court’s ruling on Plaintiffs’ MIL
   17 No. 3 precludes the parties from introducing “evidence of or mak[ing] reference to
   18 plaintiff’s financial condition.”
   19         Defendants’ Response to the Objection: Exhibit 668AH is an August 3,
   20 2021 public Instagram post by Mrs. Bryant regarding a trip to Antibes, France. As
   21 set forth above, Defendants are entitled to defend against Mrs. Bryant’s claims of
   22 severe emotional distress by showing that other factors in Mrs. Bryant’s life caused
   23 her distress.
   24         Mrs. Bryant’s ability to travel out of the country and take trips with her young
   25 daughters is highly probative of her mental and emotional state. See, e.g., Rosales,
   26 2021 WL 4429468, at *6 (“information from social media is relevant to claims of
   27 emotional distress because social media activity, to an extent, is reflective of an
   28 individual’s contemporaneous emotions and mental state.”); see also Simply Storage

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    1 Management, LLC, 270 F.R.D. at 436 (context and appearance of plaintiff in
    2 pictures posted on social media relevant to assessment of plaintiff’s emotional or
    3 mental status).
    4         The admission of multiple exhibits depicting Mrs. Bryant in different
    5 countries is necessary to provide the jury with the full context of Mrs. Bryant’s
    6 travels and associated mental state. That she can travel from location to location
    7 and country to country within the same trip reflects on her mental condition and
    8 ability to deal with the stresses of traveling.
    9         Plaintiff’s position is that the jury can only assess her emotional distress by
   10 what she says after preparation with her lawyers at deposition and at trial. The jury
   11 should be presented with a full picture of Plaintiff’s day-to-day life.
   12          Mrs. Bryant has put her use of the Internet directly at issue in this case. She
   13 claims that as a result of Defendants’ conduct she avoids going online and checking
   14 her social media accounts. The frequency and content of Mrs. Bryant’s Instagram
   15 posts are inconsistent with her claims. The jury is entitled to consider this evidence.
   16         Plaintiff’s 403 argument fails for the same reasons set forth above—the risk
   17 of prejudice does not “substantially” outweigh the significant probative value of
   18 Exhibit 668AH and it does not run afoul of the Court’s ruling on MIL 3. And the
   19 jury in this case is going to be forced to evaluate Mrs. Bryant’s claims of emotional
   20 distress largely by her own words and actions since she has never received treatment
   21 or been diagnosed as suffering from emotional distress.
   22         Plaintiffs’ Response: Exhibit 668AH is a post dated August 3, 2021—one
   23 day after 668AG above—which shows Mrs. Bryant and her family in front of the
   24 Hotel du Cap-Eden-Roc—a five-star hotel in the French Riviera. It is irrelevant,
   25 unfairly prejudicial and contrary to the Court’s ruling Plaintiff’s MIL No. 3.
   26         As described above, Mrs. Bryant’s social and recreational activities are
   27 irrelevant to determining whether (and to what extent) she has suffered emotional
   28 distress from Defendants’ unconstitutional sharing of photos of her loved ones’

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    1 remains. The mere fact that Mrs. Bryant has travelled internationally in the period
    2 since the helicopter crash has no tendency to establish the extent of the grief, stress,
    3 and other emotional harm caused by Defendants’ conduct.
    4         Even if this evidence were relevant (it is not), Exhibit 668AH would still be
    5 inadmissible under Rule 403 because it is unfairly prejudicial and contrary to the
    6 Court’s ruling on Plaintiffs’ MIL No. 3. Exhibit 668AH depicts Plaintiff’s family at
    7 a high-end vacation destination. This evidence necessarily invites jurors to think about
    8 Plaintiffs’ financial status and may be used to insinuate that Mrs. Bryant’s financial
    9 status makes her injury inconsequential or that it mitigates any damages she endured
   10 and will continue to endure.
   11         This risk of unfair prejudice is magnified by the fact that Exhibit 668AH is
   12 cumulative of other exhibits, which also show Mrs. Bryant traveling during the same
   13 general period. As noted, Exhibit 668AH was posted just one day after Exhibit
   14 668AG above. Defendants have no legitimate purpose for admitting any of these
   15 images, much less numerous images with near-identical content.
   16         As part of the parties’ meet-and-confer, Mrs. Bryant offered to stipulate to the
   17 admission of Exhibit 668AF, which is a post from the same trip, if Defendants
   18 withdrew other exhibits from the trip, including Exhibit 668AH. (Templeton Decl. ¶
   19 4; Ex. C.) The post Mrs. Bryant agreed to stipulate to—Exhibit 668AF—is a photo
   20 that Defendants included in their original Exhibit 668 and in their updated pretrial
   21 exhibit stipulation for Exhibit 668, which contains a caption that identifies
   22 destinations on Mrs. Bryant’s travel itinerary. (See Templeton Decl. Ex. D (“The
   23 last 2 weeks in Europe were so nice. Loved getting to spend extra QT time with my
   24 girls. Photo Dump to follow…. Croatia, France & Italy.”).) That caption satisfies
   25 Defendants’ stated need for evidence that Mrs. Bryant travelled to the specified
   26 locations while minimizing the risk of unfair prejudice arising from the association
   27 between pictures of those locations (and Mrs. Bryant’s activities there) and her
   28 financial status, as required by the Court’s ruling on MIL No. 3. Nonetheless,

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    1 Defendants not only rejected Plaintiffs’ compromise offer but withdrew TREX
    2 668AF completely from their list of trial exhibits.
    3         To the extent Defendants want to question Mrs. Bryant about her family trip
    4 to Europe in summer 2021, Exhibit 668AF is sufficient. It states both the duration of
    5 the trip (two weeks) and the locations visited (Croatia, France, and Italy). There is
    6 simply no need to introduce further risk of unfair prejudice by introducing photos
    7 from each stop on the itinerary. Defendants’ rejection of this offer suggests that
    8 Defendants’ stated need for the evidence is pretextual and that Exhibit 668AH is in
    9 fact intended to inject Mrs. Bryant’s financial status into the case.
   10 V.      Exhibit 668AI
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   24         Plaintiffs’ Grounds for Objection: Relevance (FRE 402); unfair prejudice,
   25 confusion, and/or waste of time (FRE 403). The Court’s ruling on Plaintiffs’ MIL
   26 No. 3 precludes the parties from introducing “evidence of or mak[ing] reference to
   27 plaintiff’s financial condition.”
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                               JOINT STATEMENT RE: EXHIBITS 668A-668BR
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    1         Defendants’ Response to the Objection: Exhibit 668AI is an August 4,
    2 2021 public Instagram post by Mrs. Bryant regarding a trip to Saint-Jean-Cap-
    3 Ferrat, France. As set forth above, Defendants are entitled to defend against Mrs.
    4 Bryant’s claims of severe emotional distress by showing that other factors in Mrs.
    5 Bryant’s life caused her distress.
    6         Mrs. Bryant’s ability to travel out of the country for extended periods of time
    7 is highly probative of her mental and emotional state. Rosales, 2021 WL 4429468,
    8 at *6 (“information from social media is relevant to claims of emotional distress
    9 because social media activity, to an extent, is reflective of an individual’s
   10 contemporaneous emotions and mental state.”); see also Simply Storage
   11 Management, LLC, 270 F.R.D. at 436 (context and appearance of plaintiff in
   12 pictures posted on social media relevant to assessment of plaintiff’s emotional or
   13 mental status).
   14         The admission of multiple exhibits depicting Mrs. Bryant in different
   15 countries is necessary to provide the jury with the full context of Mrs. Bryant’s
   16 travels and associated mental state. That she can travel from location to location
   17 and country to country within the same trip reflects on her mental condition and
   18 ability to deal with the stresses of traveling.
   19         Exhibit 668AI also shows Mrs. Bryant publicly documenting her travels
   20 online. Mrs. Bryant has put her use of the Internet directly at issue in this case. She
   21 claims that as a result of Defendants’ conduct she avoids going online and checking
   22 her social media accounts. The frequency and content of Mrs. Bryant’s Instagram
   23 posts are inconsistent with her claims. The jury is entitled to consider this evidence.
   24         Plaintiffs’ 403 argument fails for the same reasons set forth above—the risk
   25 of prejudice does not “substantially” outweigh the significant probative value of
   26 Exhibit 668AI and it does not run afoul of the Court’s ruling on MIL 3. And the
   27 jury in this case is going to be forced to evaluate Mrs. Bryant’s claims of emotional
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                                JOINT STATEMENT RE: EXHIBITS 668A-668BR
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    1 distress largely by her own words and actions since she has never received treatment
    2 or been diagnosed as suffering from emotional distress.
    3         Plaintiffs’ Response: Exhibit 668AI is a post dated August 4, 2021—one day
    4 after Exhibit 668AH above and two days after 668AG—which appears to show Mrs.
    5 Bryant in formalwear in Mediterranean France. The exhibit includes a laudatory
    6 comment from international celebrity Khloe Kardashian. It is irrelevant, unfairly
    7 prejudicial and contrary to the Court’s ruling Plaintiff’s MIL No. 3.
    8         As described above, Mrs. Bryant’s social and recreational activities are
    9 irrelevant to determining whether (and to what extent) she has suffered emotional
   10 distress from Defendants’ unconstitutional sharing of photos of her loved ones’
   11 remains. The mere fact that Mrs. Bryant has travelled internationally in the period
   12 since the helicopter crash has no tendency to establish the extent of the grief, stress,
   13 and other emotional harm caused by Defendants’ conduct.
   14         Even if this evidence were relevant (it is not), Exhibit 668AI would still be
   15 inadmissible under Rule 403 because it is unfairly prejudicial and contrary to the
   16 Court’s ruling on Plaintiffs’ MIL No. 3. Photos that depict Mrs. Bryant wearing
   17 high-end clothing in upscale destinations invite jurors to think about Plaintiffs’
   18 financial status. So too do comments from well-known celebrities who engage with
   19 Mrs. Bryant’s social media posts online. Such evidence may also be used to
   20 insinuate that Mrs. Bryant’s financial status makes her injury inconsequential or that
   21 it mitigates any damages she endured and will continue to endure.
   22         This risk of unfair prejudice is magnified by the fact that Exhibit 668AI is
   23 cumulative of other exhibits, which also show Mrs. Bryant traveling during the same
   24 general period. As noted, Exhibit 668AI was posted just one day after Exhibit
   25 668AH above and two days after Exhibit AG. Defendants have no legitimate
   26 purpose for admitting any of these images, much less numerous images with near-
   27 identical content.
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    1         As part of the parties’ meet-and-confer, Mrs. Bryant offered to stipulate to the
    2 admission of Exhibit 668AF, which is a post from the same trip, if Defendants
    3 withdrew other exhibits from the trip, including Exhibit 668AI. (Templeton Decl. ¶
    4 4; Ex. C.) The post Mrs. Bryant agreed to stipulate to—Exhibit 668AF—is a photo
    5 that Defendants included in their original Exhibit 668 and in their updated pretrial
    6 exhibit stipulation for Exhibit 668, which contains a caption that identifies
    7 destinations on Mrs. Bryant’s travel itinerary. (See Templeton Decl. Ex. D (“The
    8 last 2 weeks in Europe were so nice. Loved getting to spend extra QT time with my
    9 girls. Photo Dump to follow…. Croatia, France & Italy.”).) That caption satisfies
   10 Defendants’ stated need for evidence that Mrs. Bryant travelled to the specified
   11 locations while minimizing the risk of unfair prejudice arising from the association
   12 between pictures of those locations (and Mrs. Bryant’s activities there) and her
   13 financial status, as required by the Court’s ruling on MIL No. 3. Nonetheless,
   14 Defendants not only rejected Plaintiffs’ compromise offer but withdrew TREX
   15 668AF completely from their list of trial exhibits.
   16         To the extent Defendants want to question Mrs. Bryant about her family trip
   17 to Europe in summer 2021, Exhibit 668AF is sufficient. It states both the duration of
   18 the trip (two weeks) and the locations visited (Croatia, France, and Italy). There is
   19 simply no need to introduce further risk of unfair prejudice by introducing photos
   20 from each stop on the itinerary. Defendants’ rejection of this offer suggests that
   21 Defendants’ stated need for the evidence is pretextual and that Exhibit 668AI is in
   22 fact intended to inject Mrs. Bryant’s financial status into the case.
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                               JOINT STATEMENT RE: EXHIBITS 668A-668BR
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    1 VI.     Exhibit 668AJ
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   15         Plaintiffs’ Grounds for Objection: Relevance (FRE 402); unfair prejudice,
   16 confusion, and/or waste of time (FRE 403). The Court’s ruling on Plaintiffs’ MIL
   17 No. 3 precludes the parties from introducing “evidence of or mak[ing] reference to
   18 plaintiff’s financial condition.”
   19         Defendants’ Response to the Objection: Exhibit 668AJ is an August 6,
   20 2021 public Instagram post by Mrs. Bryant depicting a photograph of herself in
   21 Capri, Italy. As set forth above, Defendants are entitled to defend against Mrs.
   22 Bryant’s claims of severe emotional distress by showing that other factors in Mrs.
   23 Bryant’s life caused her distress.
   24         Mrs. Bryant’s ability to travel out of the country for extended periods of time
   25 is highly probative of her mental and emotional state. Rosales, 2021 WL 4429468,
   26 at *6 (“information from social media is relevant to claims of emotional distress
   27 because social media activity, to an extent, is reflective of an individual’s
   28 contemporaneous emotions and mental state.”); see also Simply Storage

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    1 Management, LLC, 270 F.R.D. at 436 (context and appearance of plaintiff in
    2 pictures posted on social media relevant to assessment of plaintiff’s emotional or
    3 mental status).
    4         The admission of multiple exhibits depicting Mrs. Bryant in different
    5 countries is necessary to provide the jury with the full context of Mrs. Bryant’s
    6 travels and associated mental state. That she can travel from location to location
    7 and country to country within the same trip reflects on her mental condition and
    8 ability to deal with the stresses of traveling.
    9         Mrs. Bryant has put her use of the Internet directly at issue in this case. She
   10 claims that as a result of Defendants’ conduct she avoids going online and checking
   11 her social media accounts. Mrs. Bryant’s willingness to document her travels online
   12 is inconsistent with her claims. The jury is entitled to consider this evidence.
   13         Plaintiffs’ 403 argument fails for the same reasons set forth above—the risk
   14 of prejudice does not “substantially” outweigh the significant probative value of
   15 Exhibit 668AJ and it does not run afoul of the Court’s ruling on MIL 3. And the
   16 jury in this case is going to be forced to evaluate Mrs. Bryant’s claims of emotional
   17 distress largely by her own words and actions since she has never received treatment
   18 or been diagnosed as suffering from emotional distress.
   19         Mrs. Bryant’s Instagram is replete with photographs of her and her family’s
   20 various trips. In an effort to reduce the potentially cumulative nature of these posts,
   21 Defendants have withdrawn exhibits that depict Mrs. Bryant or her family in the
   22 same location more than once. Specifically, Defendants are no longer seeking to
   23 admit Exhibit 668AK, which is a similar post depicting Mrs. Bryant and her
   24 daughters in Capri, Italy.
   25         Plaintiffs’ Response: Exhibit 668AJ is a post dated August 6, 2021—two days
   26 after Exhibit 668AI—which shows Mrs. Bryant in a gown eating at a restaurant in
   27 Capri, Italy. It is irrelevant, unfairly prejudicial and contrary to the Court’s ruling
   28 Plaintiff’s MIL No. 3.

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                               JOINT STATEMENT RE: EXHIBITS 668A-668BR
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    1         As described above, Mrs. Bryant’s recreational activities are irrelevant to
    2 determining whether (and to what extent) she has suffered emotional distress from
    3 Defendants’ unconstitutional sharing of photos of her loved ones’ remains. The mere
    4 fact that Mrs. Bryant has travelled internationally in the period since the helicopter
    5 crash has no tendency to establish the extent of the grief, stress, and other emotional
    6 harm caused by Defendants’ conduct.
    7         Even if this evidence were relevant (it is not), Exhibit 668AJ would still be
    8 inadmissible under Rule 403 because it is unfairly prejudicial and contrary to the
    9 Court’s ruling on Plaintiffs’ MIL No. 3. Photos that depict Mrs. Bryant wearing
   10 fashionable clothing at a high-end vacation destination invites jurors to think about
   11 Plaintiffs’ financial status. Such evidence may be used to insinuate that Mrs. Bryant’s
   12 financial status makes her injury inconsequential or that it mitigates any damages she
   13 endured and will continue to endure.
   14         This risk of unfair prejudice is magnified by the fact that Exhibit 668AJ is
   15 cumulative of other exhibits, which also show Mrs. Bryant traveling during the same
   16 general period. As noted, Exhibit 668AJ was posted just two days after Exhibit 668I.
   17 Defendants have no legitimate purpose for admitting any of these images, much less
   18 numerous images with near-identical content.
   19         As part of the parties’ meet-and-confer, Mrs. Bryant offered to stipulate to the
   20 admission of Exhibit 668AF, which is a post from the same trip, if Defendants
   21 withdrew other exhibits from the trip, including Exhibit 668AJ. (Templeton Decl. ¶
   22 4; Ex. C.) The post Mrs. Bryant agreed to stipulate to—Exhibit 668AF—is a photo
   23 that Defendants included in their original Exhibit 668 and in their updated pretrial
   24 exhibit stipulation for Exhibit 668, which contains a caption that identifies
   25 destinations on Mrs. Bryant’s travel itinerary. (See Templeton Decl. Ex. D (“The
   26 last 2 weeks in Europe were so nice. Loved getting to spend extra QT time with my
   27 girls. Photo Dump to follow…. Croatia, France & Italy.”).) That caption satisfies
   28 Defendants’ stated need for evidence that Mrs. Bryant travelled to the specified

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    1 locations while minimizing the risk of unfair prejudice arising from the association
    2 between pictures of those locations (and Mrs. Bryant’s activities there) and her
    3 financial status, as required by the Court’s ruling on MIL No. 3. Nonetheless,
    4 Defendants not only rejected Plaintiffs’ compromise offer but withdrew TREX
    5 668AF completely from their list of trial exhibits.
    6         To the extent Defendants want to question Mrs. Bryant about her family trip
    7 to Europe in summer 2021, Exhibit 668AF is sufficient. It states both the duration of
    8 the trip (two weeks) and the locations visited (Croatia, France, and Italy). There is
    9 simply no need to introduce further risk of unfair prejudice by introducing photos
   10 from each stop on the itinerary. Defendants’ rejection of this offer suggests that
   11 Defendants’ stated need for the evidence is pretextual and that Exhibit 668AJ is in
   12 fact intended to inject Mrs. Bryant’s financial status into the case.
   13 VII. Exhibit 668AO
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                               JOINT STATEMENT RE: EXHIBITS 668A-668BR
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    1           Plaintiffs’ Grounds for Objection: Relevance (FRE 402); unfair prejudice,
    2 confusion, and/or waste of time (FRE 403). The Court’s ruling on Plaintiffs’ MIL
    3 No. 3 precludes the parties from introducing “evidence of or mak[ing] reference to
    4 plaintiff’s financial condition.”
    5           Defendants’ Response to the Objection: Exhibit 668AO is an August 29,
    6 2021 public Instagram post by Mrs. Bryant regarding a Dolce & Gabbana event she
    7 attended in Venice, Italy. As set forth above, Defendants are entitled to defend
    8 against Mrs. Bryant’s claims of severe emotional distress by showing that other
    9 factors in Mrs. Bryant’s life caused her distress.
   10           On August 29, 2021, Mrs. Bryant attended the Dolce & Gabbana Alta Mode
   11 fashion show in Venice, Italy at the Piazzetta San Marco. The show included a 100-
   12 look collection of pieces. It was covered by international media outlets, including
   13 Vogue1 and Elle2. Mrs. Bryant attended both nights of the event and publicized her
   14 attendance online.
   15           Mrs. Bryant’s ability to attend and participate in high-profile and widely-
   16 publicized events bears directly on her emotional condition during the time period at
   17 issue. Rosales, 2021 WL 4429468, at *6 (“information from social media is
   18 relevant to claims of emotional distress because social media activity, to an extent,
   19 is reflective of an individual’s contemporaneous emotions and mental state.”); see
   20 also Simply Storage Management, LLC, 270 F.R.D. at 436 (context and appearance
   21 of plaintiff in pictures posted on social media relevant to assessment of plaintiff’s
   22 emotional or mental status).
   23           Exhibit 668AO shows Mrs. Bryant participating in an event that was covered
   24 by international media and then publicizing it further by posting to her Instagram
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   26       https://www.vogue.com/article/dolce-gabbana-alta-moda-venice
   27   2
       https://www.elle.com/fashion/g37432907/dolce-and-gabbana-alta-moda-show-
   28 venice-2021/

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                                 JOINT STATEMENT RE: EXHIBITS 668A-668BR
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    1 account. The jury should decide whether this behavior is consistent with someone
    2 who is suffering severe emotional distress relating to a purported lack of privacy and
    3 fear of engaging with the Internet.
    4        Exhibit 668AO also shows Mrs. Bryant publicly documenting her travels
    5 online. Mrs. Bryant has put her use of the Internet directly at issue in this case. She
    6 claims that as a result of Defendants’ conduct she avoids going online and checking
    7 her social media accounts. The frequency and content of her Instagram posts are
    8 highly probative of her claims. The jury is entitled to consider this evidence.
    9         Plaintiffs’ 403 argument fails for the same reasons set forth above—the risk
   10 of prejudice does not “substantially” outweigh the significant probative value of
   11 Exhibit 668AO and it does not run afoul of the Court’s ruling on MIL 3. And the
   12 jury in this case is going to be forced to evaluate Mrs. Bryant’s claims of emotional
   13 distress largely by her own words and actions since she has never received treatment
   14 or been diagnosed as suffering from emotional distress.
   15         Mrs. Bryant’s Instagram is replete with posts depicting her at the August 29,
   16 2021 Dolce & Gabbana event. In an effort to reduce the potentially cumulative
   17 nature of these posts, Defendants have withdrawn the following exhibits that contain
   18 posts from the same event: 668AQ, 668AR, 668AS, and 668AT.
   19         Plaintiffs’ Response: Exhibit 668AO is a photo dated August 29, 2021,
   20 which depicts Mrs. Bryant in a formal gown with designer earrings. The post is from
   21 a two-day event in Italy hosted by renowned fashion designer Dolce & Gabbana. It
   22 includes laudatory comments from celebrities. It is irrelevant, unfairly prejudicial
   23 and contrary to the Court’s ruling Plaintiff’s MIL No. 3.
   24         As described above, Mrs. Bryant’s recreational activities are irrelevant to
   25 determining whether (and to what extent) she has suffered emotional distress from
   26 Defendants’ unconstitutional sharing of photos of her loved ones’ remains. The
   27 mere fact that Mrs. Bryant has travelled internationally and attended exclusive
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                               JOINT STATEMENT RE: EXHIBITS 668A-668BR
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    1 events in the period since the helicopter crash has no tendency to establish the extent
    2 of the grief, stress, and other emotional harm caused by Defendants’ conduct.
    3         Even if this evidence were relevant (it is not), Exhibit 668AO would still be
    4 inadmissible under Rule 403 because it is unfairly prejudicial and contrary to the
    5 Court’s ruling on Plaintiffs’ MIL No. 3. Exhibit 668AO depicts Mrs. Bryant in
    6 formalwear and designer jewelry at an exclusive event hosted by a luxury fashion
    7 designer. This evidence necessarily invites jurors to think about Plaintiffs’ financial
    8 status. So too do comments from well-known celebrities who engage with Mrs.
    9 Bryant’s social media posts online. Such evidence may also be used to insinuate that
   10 Mrs. Bryant’s financial status makes her injury inconsequential or that it mitigates
   11 any damages she endured and will continue to endure.
   12         This risk of unfair prejudice is magnified by the fact that Exhibit 668AO is
   13 cumulative of other exhibits. Exhibit 668AO is one of three exhibits Defendants
   14 seek to introduce from the same Dolce & Gabbana function. (Exhibits 668AV and
   15 668AX are the others.) Defendants have no legitimate purpose for admitting any of
   16 these images, much less multiple images with near-identical content. Defendants’
   17 insistence on introducing all of them suggests that their real intention is not to prove
   18 the fact that Mrs. Bryant attended this function—a fact not in dispute—but rather to
   19 use the images of formalwear and jewelry to make Mrs. Bryant seem unrelatable to
   20 the jury or undeserving of compensation.
   21         As part of the parties’ meet-and-confer, Plaintiffs offered to withdraw their
   22 objection to a different photo taken of Mrs. Bryant during the Dolce & Gabbana
   23 trip—TREX 668AU—if Defendants withdraw the other exhibits from that trip. The
   24 post Mrs. Bryant agreed to stipulate to—Exhibit 668AU—is a photo that Defendants
   25 included in their original Exhibit 668 and in their updated pretrial exhibit stipulation
   26 for Exhibit 668, which shows Mrs. Bryant at the function. (See Templeton Decl. Ex.
   27 E.) The post depicts Mrs. Bryant in formal clothing but omits some of the more
   28 obvious symbols of financial status in Exhibit 668AO, such as the designer earrings,

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    1 thereby mitigating some of the risk of unfair prejudice. Nonetheless, Defendants not
    2 only rejected Plaintiffs’ compromise offer but withdrew TREX 668AU completely
    3 from their list of trial exhibits.
    4         To the extent Defendants want to prove Mrs. Bryant’s attendance at the Dolce
    5 & Gabbana event, TREX 668AU is sufficient. Defendants’ rejection of Plaintiffs’
    6 compromise suggests that their stated need for the evidence is pretextual and that
    7 Exhibit 668AO is in fact intended to use images of high-end clothing and jewelry to
    8 imply facts about financial condition, which is impermissible.
    9 VIII. Exhibit 668AV
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   24         Plaintiffs’ Grounds for Objection: Relevance (FRE 402); unfair prejudice,
   25 confusion, and/or waste of time (FRE 403). The Court’s ruling on Plaintiffs’ MIL
   26 No. 3 precludes the parties from introducing “evidence of or mak[ing] reference to
   27 plaintiff’s financial condition.”
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                                JOINT STATEMENT RE: EXHIBITS 668A-668BR
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    1         Defendants’ Response to the Objection: Exhibit 668AV is an August 31,
    2 2021 public Instagram post by Mrs. Bryant regarding a second Dolce and Gabbana
    3 event she attended in Venice, Italy. In the description of the post, Mrs. Bryant
    4 writes: “Laughter and dancing feed my soul. It was so hard going back to Venice
    5 but I’m glad I did it. Adiamo @ciara IT @dolcegabbana.” As set forth above,
    6 Defendants are entitled to defend against Mrs. Bryant’s claims of severe emotional
    7 distress by showing that other factors in Mrs. Bryant’s life caused her distress.
    8         Mrs. Bryant’s ability to attend and participate in high-profile and widely-
    9 publicized events bears directly on her emotional condition during the time period at
   10 issue. Rosales, 2021 WL 4429468, at *6 (“information from social media is
   11 relevant to claims of emotional distress because social media activity, to an extent,
   12 is reflective of an individual’s contemporaneous emotions and mental state.”); see
   13 also Simply Storage Management, LLC, 270 F.R.D. at 436 (context and appearance
   14 of plaintiff in pictures posted on social media relevant to assessment of plaintiff’s
   15 emotional or mental status).
   16         The fact that Mrs. Bryant attended multiple Dolce & Gabbana events in Italy
   17 further contextualizes her mental state during August of 2021. In addition to
   18 attending this events, Mrs. Bryant further publicized her participation by posting to
   19 her Instagram account. The jury should decide whether this behavior is consistent
   20 with someone who is suffering severe emotional distress relating to a purported lack
   21 of privacy and fear of engaging with the Internet.
   22         Exhibit 668AV also contains statements by Mrs. Bryant regarding her mental
   23 condition at the time. Specifically, Mrs. Bryant writes: “Laughter and dancing feed
   24 my soul. It was so hard going back to Venice but I’m glad I did it. Adiamo @ciara
   25 IT @dolcegabbana.” The jury is entitled to consider these types of statements in
   26 assessing Mrs. Bryant’s claims of severe emotional distress. See Reid v. Ingerman
   27 Smit LLP, No. CV 2012-0307(IGL)(MDG), 2012 WL 6720752 at *2 (E.D.N.Y.
   28 Dec. 27, 2012) (statements made on social media “regarding plaintiff’s social

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    1 activities may be relevant to plaintiff’s claims of emotional distress and loss of
    2 enjoyment of life.”).
    3         Mrs. Bryant’s Instagram is replete with posts depicting her at the August 31,
    4 2021 Dolce & Gabbana event. In an effort to reduce the potentially cumulative
    5 nature of these posts, Defendants have withdrawn the following exhibits that contain
    6 posts from the same event: 668AU, 668AW, 668X.
    7         Exhibit 668AV also shows Mrs. Bryant publicly documenting her travels
    8 online. Mrs. Bryant has put her use of the Internet directly at issue in this case. She
    9 claims that as a result of Defendants’ conduct she avoids going online and checking
   10 her social media accounts. The frequency and content of Mrs. Bryant’s Instagram
   11 posts are inconsistent with her claims. The jury is entitled to consider this evidence.
   12         Plaintiffs’ 403 argument fails for the same reasons set forth above—the risk
   13 of prejudice does not “substantially” outweigh the significant probative value of
   14 Exhibit 668AV and it does not run afoul of the Court’s ruling on MIL 3. And the
   15 jury in this case is going to be forced to evaluate Mrs. Bryant’s claims of emotional
   16 distress largely by her own words and actions since she has never received treatment
   17 or been diagnosed as suffering from emotional distress.
   18         Plaintiffs’ Response: Exhibit 668AV is a photo dated August 31, 2021—
   19 two days after Exhibit 668AO, one day after Exhibit 668AP, and the same day as
   20 Exhibit 668AX—which depicts Mrs. Bryant and international pop star Ciara posing
   21 for a photo at an exclusive event in Italy. It is irrelevant, unfairly prejudicial, and
   22 contrary to the Court’s ruling Plaintiff’s MIL No. 3.
   23         As described above, Mrs. Bryant’s social and recreational activities are
   24 irrelevant to determining whether (and to what extent) she has suffered emotional
   25 distress from Defendants’ unconstitutional sharing of photos of her loved ones’
   26 remains. The mere fact that Mrs. Bryant has travelled internationally and attended
   27 exclusive events in the period since the helicopter crash has no tendency to establish
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    1 the extent of the grief, stress, and other emotional harm caused by Defendants’
    2 conduct.
    3         Even if this evidence were relevant (it is not), Exhibit 668AV would still be
    4 inadmissible under Rule 403 because it is unfairly prejudicial and contrary to the
    5 Court’s ruling on Plaintiffs’ MIL No. 3. Exhibit 668AV depicts Mrs. Bryant
    6 wearing fashionable clothing at an exclusive event with an international celebrity.
    7 This evidence necessarily invites jurors to think about Mrs. Bryant’s financial status
    8 and celebrity. It may be used to insinuate that Mrs. Bryant’s financial status makes
    9 her injury inconsequential or that it mitigates any damages she endured and will
   10 continue to endure.
   11         This risk of unfair prejudice is magnified by the fact that Exhibit 668AV is
   12 cumulative of other exhibits, which show Mrs. Bryant attending the same or similar
   13 events during the same overseas trip. Exhibit 668AO, Exhibit 668AP, Exhibit
   14 668AV, and Exhibit 668AX were all posted within days of one another. Defendants
   15 have no legitimate purpose for admitting any of these images, much less multiple
   16 images with near-identical content.
   17         As part of the parties’ meet-and-confer, Plaintiffs offered to withdraw their
   18 objection to a different photo taken of Mrs. Bryant during the trip—TREX
   19 668AU—if Defendants withdrew other exhibits from the same trip. The post Mrs.
   20 Bryant agreed to stipulate to—Exhibit 668AU—is a photo that Defendants included
   21 in their original Exhibit 668 and in their updated pretrial exhibit stipulation for
   22 Exhibit 668, which shows Mrs. Bryant at the function. (See Templeton Decl. Ex. E.)
   23 Defendants not only rejected Plaintiffs’ compromise offer but withdrew TREX
   24 668AU completely from their list of trial exhibits.
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   26         ///
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    1 IX.     Exhibit 668AX
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   15         Plaintiffs’ Grounds for Objection: Relevance (FRE 402); unfair prejudice,
   16 confusion, and/or waste of time (FRE 403). The Court’s ruling on Plaintiffs’ MIL
   17 No. 3 precludes the parties from introducing “evidence of or mak[ing] reference to
   18 plaintiff’s financial condition.”
   19         Defendants’ Response to the Objection: Exhibit 668AX is an August 31,
   20 2021 public Instagram post by Mrs. Bryant regarding a trip to Venice, Italy. In the
   21 description of the post, Mrs. Bryant writes: “I was reluctant to get away but I’m so
   22 glad I did it! It was so nice to enjoy life a little bit and not think about everything I
   23 have on my plate. This was so good for my soul. Thank you so much for an
   24 amazing weekend Domenico & Stefano @dolcegabbana.” As set forth above,
   25 Defendants are entitled to defend against Mrs. Bryant’s claims of severe emotional
   26 distress by showing that other factors in Mrs. Bryant’s life caused her distress.
   27         Mrs. Bryant’s ability to attend and participate in high-profile and widely-
   28 publicized events bears directly on her emotional condition during the time period at

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    1 issue. Rosales, 2021 WL 4429468, at *6 (“information from social media is
    2 relevant to claims of emotional distress because social media activity, to an extent,
    3 is reflective of an individual’s contemporaneous emotions and mental state.”); see
    4 also Simply Storage Management, LLC, 270 F.R.D. at 436 (context and appearance
    5 of plaintiff in pictures posted on social media relevant to assessment of plaintiff’s
    6 emotional or mental status).
    7         Exhibit 668AX shows Mrs. Bryant participating in an event that was covered
    8 by internal news media and then publicizing it further by posting to her Instagram
    9 account. The jury should decide whether this behavior is consistent with someone
   10 who is suffering severe emotional distress relating to a purported lack of privacy and
   11 fear of engaging with the Internet.
   12         In addition to depicting Mrs. Bryant traveling out of the country to attend a
   13 high-profile and potentially stress-inducing event, Exhibit 668AX also contains
   14 statements by Mrs. Bryant regarding her mental condition at the time. Specifically,
   15 Mrs. Bryant writes: “I was reluctant to get away but I’m so glad I did it! It was so
   16 nice to enjoy life a little but and not think about everything I have on my plate. This
   17 was so good for my soul.” The jury is entitled to consider these types of statements
   18 in assessing Mrs. Bryant’s claims of severe emotional distress. See Reid, 2012 WL
   19 6720752 at *2 (statements made on social media “regarding plaintiff’s social
   20 activities may be relevant to plaintiff’s claims of emotional distress and loss of
   21 enjoyment of life.”).
   22         Mrs. Bryant claims that as a result of Defendants’ conduct she avoids going
   23 online and checking her social media accounts. The frequency and content of Mrs.
   24 Bryant’s Instagram posts are highly probative of her claims. The jury is entitled to
   25 consider this evidence.
   26         Plaintiffs’ 403 argument fails for the same reasons set forth above—the risk
   27 of prejudice does not “substantially” outweigh the significant probative value of
   28 Exhibit 668AX and it does not run afoul of the Court’s ruling on MIL 3. And the

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    1 jury in this case is going to be forced to evaluate Mrs. Bryant’s claims of emotional
    2 distress largely by her own words and actions since she has never received treatment
    3 or been diagnosed as suffering from emotional distress.
    4         Plaintiffs’ Response: Exhibit 668AX is a photo dated August 31, 2021—
    5 two days after Exhibit 668AO, one day after Exhibit 668AP, and the same day as
    6 Exhibit 668AV—which depicts Mrs. Bryant and an Italian fashion designer posing
    7 for a photo at an exclusive event. It is irrelevant, unfairly prejudicial and contrary to
    8 the Court’s ruling Plaintiff’s MIL No. 3.
    9         As described above, Mrs. Bryant’s social and recreational activities are
   10 irrelevant to determining whether (and to what extent) she has suffered emotional
   11 distress from Defendants’ unconstitutional sharing of photos of her loved ones’
   12 remains. The mere fact that Mrs. Bryant has travelled internationally and attended
   13 exclusive events in the period since the helicopter crash has no tendency to establish
   14 the extent of the grief, stress, and other emotional harm caused by Defendants’
   15 conduct.
   16         Even if this evidence were relevant (it is not), Exhibit 668AX would still be
   17 inadmissible under Rule 403 because it is unfairly prejudicial and contrary to the
   18 Court’s ruling on Plaintiffs’ MIL No. 3. Photos depicting Mrs. Bryant wearing
   19 fashionable clothing at a high-end fashion show next to the prominent designer
   20 necessarily invites jurors to think about Plaintiffs’ financial status. It may be used to
   21 insinuate that Mrs. Bryant’s financial status makes her injury inconsequential or that
   22 it mitigates any damages she endured and will continue to endure.
   23         This risk of unfair prejudice is magnified by the fact that Exhibit 668AX is
   24 cumulative of other exhibits, which show Mrs. Bryant attending the same or similar
   25 events during the same overseas trip. Exhibit 668AO, Exhibit 668AP, Exhibit
   26 668AV, and Exhibit 668AX were all posted within days of one another. Defendants
   27 have no legitimate purpose for admitting any of these images, much less multiple
   28 images with near-identical content.

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    1         As part of the parties’ meet-and-confer, Plaintiffs offered to withdraw their
    2 objection to a different photo taken of Mrs. Bryant during the trip—Exhibit
    3 668AU—if Defendants withdrew other exhibits from the same trip. The post Mrs.
    4 Bryant agreed to stipulate to—Exhibit 668AU—is a photo that Defendants included
    5 in their original Exhibit 668 and in their updated pretrial exhibit stipulation for
    6 Exhibit 668, which shows Mrs. Bryant at the function. (See Templeton Decl. Ex. E.)
    7 Defendants not only rejected Plaintiffs’ compromise offer but withdrew TREX
    8 668AU completely from their list of trial exhibits.
    9         During the parties’ meet-and-confer, Defendants suggested that Exhibit
   10 668AX is relevant for the caption, which states “I was reluctant to get away but I’m
   11 so glad I did it! It was so nice to enjoy life a little bit and not think about everything
   12 I have on my plate.” But even if the subject matter described in the caption were
   13 relevant, Defendants could inquire about that subject matter by asking Mrs. Bryant
   14 about her trip while she is on the witness stand. There is no need for Defendants to
   15 also present visual images of Mrs. Bryant at a high-end function with fashionable
   16 clothing, which serves only to invite a risk of unfair prejudice.
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                                JOINT STATEMENT RE: EXHIBITS 668A-668BR
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    1 X.      Exhibit 668BE
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   17         Plaintiffs’ Grounds for Objection: Relevance (FRE 402); unfair prejudice,

   18 confusion, and/or waste of time (FRE 403). The Court’s ruling on Plaintiffs’ MIL
   19 No. 3 precludes the parties from introducing “evidence of or mak[ing] reference to
   20 plaintiff’s financial condition.”
   21        Defendants’ Response to the Objection: Exhibit 668BE is a September 15,

   22 2021 public Instagram post by Mrs. Bryant regarding the MET Gala she attended in
   23 New York City. As set forth above, Defendants are entitled to defend against Mrs.
   24 Bryant’s claims of severe emotional distress by showing that other factors in Mrs.
   25 Bryant’s life caused her distress.
   26         The MET Gala is one of the most highly-publicized and photographed events

   27 in the world. It is affectionately referred to as “fashion’s biggest night out.” It is a
   28 fundraising benefit for the Metropolitan Museum of Art in New York City and

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    1 welcomes stars, young creatives, and industry paragons. It is covered by
    2 International media outlets. Many of the attendees are depicted on the covers of
    3 magazines and online, including Vogue. Guests are expected to curate their fashion
    4 to match the theme of the exhibit, which is generally haute couture. British-
    5 American journalist Anna Wintour, who is the editor-in-chief of Vogue, has chaired
    6 or co-chaired the Met Gala since 1995.3
    7           Mrs. Bryant’s ability to attend the MET Gala bears directly on her emotional
    8 condition during the time period at issue. Rosales, 2021 WL 4429468, at *6
    9 (“information from social media is relevant to claims of emotional distress because
   10 social media activity, to an extent, is reflective of an individual’s contemporaneous
   11 emotions and mental state.”); see also Simply Storage Management, LLC, 270
   12 F.R.D. at 436 (context and appearance of plaintiff in pictures posted on social media
   13 relevant to assessment of plaintiff’s emotional or mental status). She attended the
   14 gala with her daughter and the after party. Her attendance was widely-reported in
   15 the media and online.4
   16           Exhibit 668BE is also relevant because it shows Mrs. Bryant posting publicly
   17 about it to her Instagram account. The jury should decide whether this behavior is
   18 consistent with her claims that she fears the crash site photos being published by the
   19 media or posted online. Mrs. Bryant has put her use of the Internet directly at issue
   20 in this case. She claims that as a result of Defendants’ conduct she avoids going
   21 online and checking her social media accounts. The frequency and content of Mrs.
   22 Bryant’s Instagram posts are inconsistent with her claims. The jury is entitled to
   23 consider this evidence.
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            See https://en.wikipedia.org/wiki/Met_Gala.
   26   4
       See, e.g., Vanessa and Natalia Bryant Are the Most Stylish Mother-Daughter Duo
   27 at Met Gala After-Party, https://www.eonline.com/news/1302395/vanessa-and-
   28 natalia-bryant-are-the-most-stylish-mother-daughter-duo-at-met-gala-after-party.

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                                 JOINT STATEMENT RE: EXHIBITS 668A-668BR
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    1         Plaintiffs’ 403 argument fails for the same reasons set forth above—the risk
    2 of prejudice does not “substantially” outweigh the significant probative value of
    3 Exhibit 668BE and it does not run afoul of the Court’s ruling on MIL 3. And the
    4 jury in this case is going to be forced to evaluate Mrs. Bryant’s claims of emotional
    5 distress largely by her own words and actions since she has never received treatment
    6 or been diagnosed as suffering from emotional distress.
    7         Plaintiffs’ Response: Exhibit 668BE is a post dated September 14, 2021 that
    8 depicts Mrs. Bryant and her daughter posing for a photo at the Met Gala in New
    9 York. It is irrelevant, unfairly prejudicial and contrary to the Court’s ruling
   10 Plaintiff’s MIL No. 3.
   11         As described above, Mrs. Bryant’s social and recreational activities are
   12 irrelevant to determining whether (and to what extent) she has suffered emotional
   13 distress from Defendants’ unconstitutional sharing of photos of her loved ones’
   14 remains. The mere fact that Mrs. Bryant has traveled and attended events in the
   15 period since the helicopter crash has no tendency to establish the extent of the grief,
   16 stress, and other emotional harm caused by Defendants’ conduct.
   17         Even if this evidence were relevant (it is not), Exhibit 668BE would still be
   18 inadmissible under Rule 403 because it is unfairly prejudicial and contrary to the
   19 Court’s ruling on Plaintiffs’ MIL No. 3. By depicting Mrs. Bryant in fashionable
   20 clothing at an exclusive and internationally recognized fashion event, Exhibit
   21 668BE necessarily invites jurors to think about Plaintiffs’ financial status. Such
   22 information may be used to insinuate that Mrs. Bryant’s financial status makes her
   23 injury inconsequential or that it mitigates any damages she endured and will
   24 continue to endure. None of these interpretations has any grounding in reality, but
   25 they would inevitably prejudice the jurors’ ability to make reasoned decisions based
   26 on the facts and the law.
   27         If Mrs. Bryant’s travels to New York in September 2021 were relevant to an
   28 issue in the case, Defendants could elicit testimony about them by asking Mrs.

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                               JOINT STATEMENT RE: EXHIBITS 668A-668BR
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    1 Bryant at trial. Exhibit 668BE adds no relevant information but creates a substantial
    2 risk of distracting the jurors from the real issues in the litigation. The exhibit should
    3 be excluded.
    4 XI.     Exhibit 668BI
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   16         Plaintiffs’ Grounds for Objection: Relevance (FRE 402); unfair prejudice,

   17 confusion, and/or waste of time (FRE 403). The Court’s ruling on Plaintiffs’ MIL
   18 No. 3 precludes the parties from introducing “evidence of or mak[ing] reference to
   19 plaintiff’s financial condition.”
   20        Defendants’ Response to the Objection: As set forth above, while Plaintiff

   21 has represented to the jury that this case is about the aggravation of grief and
   22 emotional distress, Defendants are entitled to present evidence of Plaintiff’s real
   23 time conduct indicating that for Mrs. Bryant, this case is actually about revenge.
   24       Exhibit 668BI is an Instagram post depicting Mrs. Bryant dressed as Cruella

   25 de Vil for Halloween. In addition to the picture, the post is accompanied by the
   26 caption stating: “‘They say there are five stages of grief: Denial, anger, bargaining,
   27 depression, and acceptance. Well, I’d like to add one more…revenge.’ -Cruella
   28 #101Dalmations.” Mrs. Bryant posted this image and caption only a few weeks

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                               JOINT STATEMENT RE: EXHIBITS 668A-668BR
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    1 after her deposition in this case. Considering the timing, there is a strong inference
    2 that this post was intended as a direct reference to this litigation. Moreover, even if
    3 the quote itself is from a movie, Mrs. Bryant’s choice of costume and use of a quote
    4 referencing “grief” and “revenge” is relevant as statement regarding her mental
    5 condition in October 2021.
    6         Plaintiffs cite a litany of cases for the proposition that a plaintiff’s motivation
    7 for initiating litigation is not relevant to the litigation itself. The cases relied upon
    8 by Plaintiffs are inapposite, as none of them deal with a situation where the only
    9 basis for damages is the alleged emotional distress of the plaintiff. See Collins,
   10 2005 WL 3789357, at *3 (subjective motive for bringing a lawsuit under the
   11 Americans With Disabilities Act not relevant to whether there was in fact a violation
   12 under the Act); Caldwell, 229 F.3d 1162, 2000 WL 1335564, at *5 (plaintiffs
   13 intention to use money obtained from litigation to pay off unrelated debt was not
   14 relevant); Johnson, 36 F.2d at 677 (motive for initiating action not relevant in
   15 shareholder derivative action); Davis, 2008 WL 11511788, at *1 (speculation that
   16 employee’s lawsuit against employer was filed as retaliation for employer firing
   17 employee’s friend not relevant); Krakover, 48 F.3d at 344 (so long as a plaintiff is
   18 seeking the actual remedy requested, the motives for pursuing suit are irrelevant for
   19 purposes of abuse of process action under Missouri law); Amdocs (Israel) Ltd., 2012
   20 WL 12832376, at *2 (motivation not relevant in business dispute). The plaintiffs’
   21 mental condition was not at issue in any of these cases.
   22         In contrast to the aforementioned cases, Mrs. Bryant’s mental state is one of
   23 the central issues in this action and her alleged emotional distress is the only basis
   24 for damages. In this context, the fact that Mrs. Bryant may be pursing this litigation
   25 as a form of revenge bears directly on her claim that she suffers from severe
   26 emotional distress. Defendants are entitled to ask the jury to assess Mrs. Bryant’s
   27 claim of severe emotional distress by looking at her prior statements—including
   28 statements she has made in the context of dressing up and celebrating Halloween.

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                                JOINT STATEMENT RE: EXHIBITS 668A-668BR
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    1 Rosales, 2021 WL 4429468, at *6 (“information from social media is relevant to
    2 claims of emotional distress because social media activity, to an extent, is reflective
    3 of an individual’s contemporaneous emotions and mental state.”); see also Simply
    4 Storage Management, LLC, 270 F.R.D. at 436 (context and appearance of plaintiff
    5 in pictures posted on social media relevant to assessment of plaintiff’s emotional or
    6 mental status). The jury should not be limited to evaluating Mrs. Bryant’s purported
    7 distress based only on what she says after preparation with her lawyers at deposition
    8 and at trial. Rather, the jury is entitled to a complete view of Mrs. Bryant’s
    9 statements and actions so that it may test her credibility and determine whether she
   10 in does in fact suffer from severe emotional distress, as she claims.
   11         Additionally, Mrs. Bryant not only mentions “grief” and “revenge” in this
   12 Instagram post, but she does so in the context of the five stages of grief: denial,
   13 anger, bargaining, depression, and acceptance. Mrs. Bryant’s grief, and Defendants’
   14 alleged intrusion on her grief, is a central part of Plaintiffs’ allegations in this case.
   15 Specifically, Mrs. Bryant has alleged that she was already grieving the loss of her
   16 husband and daughter when she learned about the alleged taking and sharing of
   17 crash site photos, which then compounded her grief. Plaintiffs’ counsel has argued
   18 when Mrs. Bryant learned about the crash site photographs it was akin to pouring
   19 “salt in an unhealable wound.” (Aug. 10, 2021 Tr. at 92:14-20.) Exhibit 668BI
   20 contains a direct statement by Mrs. Bryant about this grieving process. By
   21 Plaintiffs’ own admission, this material is highly relevant to Plaintiffs’ mental
   22 condition and her alleged suffering of severe emotional distress.
   23         There are also no 403 concerns with introducing Exhibit 668BI. Its probative
   24 value far outweighs any risk that jurors may actually equate this lawsuit with the
   25 “scheming of a vengeful eccentric.” Jurors are familiar with Halloween and the
   26 concept of dressing up to celebrate the holiday. The fictional nature of Mrs.
   27 Bryant’s post does not mean that the jury cannot consider her choice of costume and
   28

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    1 use of a quotation in light of the circumstances surrounding this case. Mrs. Bryant’s
    2 costume choice is directly probative of her mental state in October 2021.
    3         Plaintiffs’ Response: Exhibit 668BI is a photo dated October 31, 2021—
    4 Halloween—which depicts Mrs. Bryant in costume as iconic Disney villain Cruella
    5 de Ville. It includes a caption, which states: “‘They say there are five stages of grief:
    6 Denial, anger, bargaining, depression, and acceptance. Well, I’d like to add one
    7 more…revenge.’ -Cruella #101Dalmations.” Exhibit 668BI is irrelevant and unfairly
    8 prejudicial, particularly given Defendants’ apparent intent to use it to suggest—
    9 falsely—that Mrs. Bryant is pursuing this lawsuit for improper purposes.
   10         As described above, Mrs. Bryant’s social and recreational activities are
   11 irrelevant to determining whether (and to what extent) she has suffered emotional
   12 distress from Defendants’ unconstitutional sharing of photos of her loved ones’
   13 remains. The mere fact that Mrs. Bryant dresses up in Halloween costumes and
   14 attends functions has no tendency to establish the extent of the grief, stress, and
   15 other emotional harm caused by Defendants’ conduct.
   16         During the parties’ meet-and-confer, Defendants suggested that Exhibit 668BI
   17 is relevant because of the reference to “revenge” in the caption—which Defendants
   18 apparently read as a reference to this litigation. The caption is on its face a quote
   19 from the Disney movie that inspired Mrs. Bryant’s Halloween costume. Defendants’
   20 suggestion that it says something relevant about Mrs. Bryant’s subjective motivation
   21 for litigating this case is speculation and conjecture.
   22         But even if Defendants could tie the caption to Mrs. Bryant’s motivations,
   23 Exhibit 668BI would still be irrelevant because Mrs. Bryant’s reasons for litigating
   24 has no tendency to prove or disprove any issue in the case. As discussed above,
   25 cases are decided according to the law, not “the subjective motives of the litigants.”
   26 Collins, 2005 WL 3789357, at *3. A plaintiff’s subjective motivation “does not shed
   27 any light as to the probable merit of the claims and allegations they asserted in this
   28 case.” Id. For that reason, courts have consistently found that evidence of a

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    1 plaintiff’s reasons for pursuing a lawsuit is irrelevant and not admissible. See, e.g.,
    2 Caldwell, 229 F.3d 1162, 2000 WL 1335564, at *5 (court properly excluded
    3 testimony regarding plaintiffs motive in bringing suit because, absent fraud,
    4 “evidence of [plaintiffs] financial motivation to bring the suit was not relevant to
    5 any of the issues in this case”); Krakover, 48 F.3d at 344 (“As long as a plaintiff is
    6 seeking the remedy requested, his bad motives for pursuing the suit are irrelevant.”);
    7 Johnson, 36 F.2d at 677 (“[W]here a suitor is entitled to relief in respect to the
    8 matter concerning which he sues, his motives are immaterial . . . .”); Davis, 2008
    9 WL 11511788, at *1 (“The issue in this case is why [plaintiff] was fired; it is not
   10 why [plaintiff] filed this lawsuit.”).5
   11         Mrs. Bryant is pursuing a valid claim with a firm foundation in constitutional
   12 law. As she has said repeatedly, Mrs. Bryant seeks accountability. Defendants are
   13 wrong that their evidence shows Mrs. Bryant is instead pursuing this case for
   14 “revenge.” But in any event, such evidence would have no tendency to prove or
   15 disprove any material issue in the case. Cf. Lonchar v. Thomas, 517 U.S. 314, 332
   16 (1996) (“A valid . . . action . . . does not suddenly become invalid simply because
   17 the litigant is subjectively indifferent about receiving the requested . . . relief, but
   18 instead primarily wants to . . . obtain revenge”). Mrs. Bryant has every right to
   19 protect her constitutional rights in this lawsuit. Collins, 2005 WL 3789357, at *3.
   20 Her “motivation for suing the defendant is irrelevant to the liability and damages
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   23   5
         Because of the issue’s irrelevance, courts routinely prevent even the discovery of
   24   evidence about the plaintiff’s motivations. See, e.g., Rhone-Poulenc Rorer Inc. v.
        Home Indem. Co., 1991 WL 183842, at *2 (E.D. Pa. Sept. 16, 1991) (“Courts which
   25   have dealt with this issue . . . have held that the motive behind the institution of an
   26   action has been deemed not relevant to the subject matter involved pursuant to Fed.
        R. Civ. P. 26(b).”); Digital Equip. Corp. v. Sys. Indus., Inc., 108 F.R.D. 742, 743
   27   (D. Mass. 1986) (rule that “institution of the action [i]s deemed not relevant” is
   28   “consistently followed”).

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    1 issues the jury must determine.” Amdocs (Israel) Ltd. v. Openet Telecom, Inc., 2012
    2 WL 12832376, at *2 (E.D. Va. Mar. 30, 2012).
    3         Even if Exhibit 668BI had some minimal probative value, it should be
    4 excluded because its probative value is substantially outweighed by the risk of
    5 unfair prejudice. See Fed. R. Evid. 403. This is a Halloween photo depicting Mrs.
    6 Bryant in costume as one of the most iconic villains in cinema. Everything about the
    7 image is deliberately exaggerated for cinematic effect. Allowing Defendants to
    8 present this image to the jury as evidence of anything is highly misleading. And
    9 allowing them to present it as evidence of Mrs. Bryant’s reasons for pursuing this
   10 lawsuit is an invitation to equate this lawsuit with the scheming of a vengeful
   11 eccentric. This should not be tolerated.
   12 XII. Exhibit 668BJ
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              Plaintiffs’ Grounds for Objection: Relevance (FRE 402); unfair prejudice,
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        confusion, and/or waste of time (FRE 403). The Court’s ruling on Plaintiffs’ MIL
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        No. 3 precludes the parties from introducing “evidence of or mak[ing] reference to
   26
        plaintiff’s financial condition.”
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              ///
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    1         Defendants’ Response to the Objection: As set forth above, while Plaintiff
    2 has represented to the jury that this case is about the aggravation of grief and
    3 emotional distress, Defendants are entitled to present evidence of Plaintiff’s real
    4 time conduct indicating that for Mrs. Bryant, this case is actually about revenge.
    5         Exhibit 668BJ is an Instagram post depicting Mrs. Bryant dressed as Cruella
    6 de Vil for Halloween. In addition to the picture, the post is accompanied by the
    7 caption stating: “‘Well Now, What Have We Here? So They Thought They Could
    8 Outwit?’~ 101 Dalmations.” Mrs. Bryant posted this image and caption only a few
    9 weeks after her deposition in this case. Considering the timing, there is a strong
   10 inference that this post was intended as a direct reference to this litigation.
   11         Plaintiffs cite a litany of cases for the proposition that a plaintiff’s motivation
   12 for initiating litigation is not relevant to the litigation itself. The cases relied upon
   13 by Plaintiffs are inapposite, as none of them deal with a situation where the only
   14 basis for damages is the alleged emotional distress of the plaintiff. See Collins,
   15 2005 WL 3789357, at *3 (subjective motive for bringing a lawsuit under the
   16 Americans With Disabilities Act not relevant to whether there was in fact a violation
   17 under the Act); Caldwell, 229 F.3d 1162, 2000 WL 1335564, at *5 (plaintiffs
   18 intention to use money obtained from litigation to pay off unrelated debt was not
   19 relevant); Johnson, 36 F.2d at 677 (motive for initiating action not relevant in
   20 shareholder derivative action); Davis, 2008 WL 11511788, at *1 (speculation that
   21 employee’s lawsuit against employer was filed as retaliation for employer firing
   22 employee’s friend not relevant); Krakover, 48 F.3d at 344 (so long as a plaintiff is
   23 seeking the actual remedy requested, the motives for pursuing suit are irrelevant for
   24 purposes of abuse of process action under Missouri law); Amdocs (Israel) Ltd., 2012
   25 WL 12832376, at *2 (motivation not relevant in business dispute). The plaintiffs’
   26 mental condition was not at issue in any of these cases.
   27         In contrast to the aforementioned cases, Mrs. Bryant’s mental state is one of
   28 the central issues in this action and her alleged emotional distress is the only basis

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    1 for damages. In this context, the fact that Mrs. Bryant may be pursing this litigation
    2 as a form of revenge bears directly on her claim that she suffers from severe
    3 emotional distress. Defendants are entitled to ask the jury to assess Mrs. Bryant’s
    4 claim of severe emotional distress by looking at her prior statements—including
    5 statements she has made in the context of dressing up and celebrating Halloween.
    6 Rosales, 2021 WL 4429468, at *6 (“information from social media is relevant to
    7 claims of emotional distress because social media activity, to an extent, is reflective
    8 of an individual’s contemporaneous emotions and mental state.”); see also Simply
    9 Storage Management, LLC, 270 F.R.D. at 436 (context and appearance of plaintiff
   10 in pictures posted on social media relevant to assessment of plaintiff’s emotional or
   11 mental status). The jury should not be limited to evaluating Mrs. Bryant’s purported
   12 distress based only on what she says after preparation with her lawyers at deposition
   13 and at trial. Rather, the jury is entitled to a complete view of Mrs. Bryant’s
   14 statements and actions so that it may test her credibility and determine whether she
   15 in does in fact suffer from severe emotional distress, as she claims.
   16         There are also no 403 concerns with introducing Exhibit 668BJ. Its probative
   17 value far outweighs any risk that jurors may actually equate this lawsuit with the
   18 “scheming of a vengeful eccentric.” Jurors are familiar with Halloween and the
   19 concept of dressing up to celebrate the holiday. The fictional nature of Mrs.
   20 Bryant’s post does not mean that the jury cannot consider her choice of costume and
   21 use of a quotation in light of the circumstances surrounding this case. Mrs. Bryant’s
   22 costume choice is directly probative of her mental state in October 2021.
   23         Plaintiffs’ Response: Exhibit 668BJ is a photo dated October 31, 2021—
   24 Halloween—which depicts Mrs. Bryant in costume as iconic Disney villain Cruella
   25 de Ville. It includes a caption, which states: “‘Well Now, What Have We Here? So
   26 They Thought They Could Outwit?’~ 101 Dalmations.” Exhibit 668BJ is irrelevant
   27 and unfairly prejudicial, particularly given Defendants’ apparent intent to use it to
   28 suggest—falsely—that Mrs. Bryant is pursuing this lawsuit for improper purposes.

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    1         As described above, Mrs. Bryant’s social and recreational activities are
    2 irrelevant to determining whether (and to what extent) she has suffered emotional
    3 distress from Defendants’ unconstitutional sharing of photos of her loved ones’
    4 remains. The mere fact that Mrs. Bryant dresses up in Halloween costumes and
    5 attends functions has no tendency to establish the extent of the grief, stress, and
    6 other emotional harm caused by Defendants’ conduct.
    7         During the parties’ meet-and-confer, Defendants suggested that Exhibit 668BI
    8 is relevant because of the reference to “revenge” in the prior Cruella de Ville
    9 photo—which Defendants apparently read as a reference to this litigation. The
   10 caption is a quote from the Disney movie that inspired Mrs. Bryant’s Halloween
   11 costume. Defendants’ suggestion that it says something relevant about Mrs. Bryant’s
   12 subjective motivation for litigating this case is speculation and conjecture.
   13         But even if Defendants could tie Exhibit 668BJ to Mrs. Bryant’s motivations,
   14 Exhibit 668BJ would still be irrelevant because Mrs. Bryant’s reasons for litigating
   15 has no tendency to prove or disprove any issue in the case. As discussed above,
   16 cases are decided according to the law, not “the subjective motives of the litigants.”
   17 Collins, 2005 WL 3789357, at *3. A plaintiff’s subjective motivation “does not shed
   18 any light as to the probable merit of the claims and allegations they asserted in this
   19 case.” Id. For that reason, courts have consistently found that evidence of a
   20 plaintiff’s reasons for pursuing a lawsuit is irrelevant and not admissible. See, e.g.,
   21 Caldwell, 229 F.3d 1162, 2000 WL 1335564, at *5 (court properly excluded
   22 testimony regarding plaintiffs motive in bringing suit because, absent fraud,
   23 “evidence of [plaintiffs] financial motivation to bring the suit was not relevant to
   24 any of the issues in this case”); Krakover, 48 F.3d at 344 (“As long as a plaintiff is
   25 seeking the remedy requested, his bad motives for pursuing the suit are irrelevant.”);
   26 Johnson, 36 F.2d at 677 (“[W]here a suitor is entitled to relief in respect to the
   27 matter concerning which he sues, his motives are immaterial . . . .”); Davis, 2008
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    1 WL 11511788, at *1 (“The issue in this case is why [plaintiff] was fired; it is not
    2 why [plaintiff] filed this lawsuit.”).6
    3         Mrs. Bryant is pursuing a valid claim with a firm foundation in constitutional
    4 law. As she has said repeatedly, Mrs. Bryant seeks accountability. Defendants are
    5 wrong that their evidence shows Mrs. Bryant is instead pursuing this case for
    6 “revenge.” But in any event, such evidence would have no tendency to prove or
    7 disprove any material issue in the case. Cf. Lonchar, 517 U.S. at 332 (“A valid . . .
    8 action . . . does not suddenly become invalid simply because the litigant is
    9 subjectively indifferent about receiving the requested . . . relief, but instead
   10 primarily wants to . . . obtain revenge”). Mrs. Bryant has every right to protect her
   11 constitutional rights in this lawsuit. Collins, 2005 WL 3789357, at *3. Her
   12 “motivation for suing the defendant is irrelevant to the liability and damages issues
   13 the jury must determine.” Amdocs, 2012 WL 12832376, at *2.
   14         Even if Exhibit 668BJ had some minimal probative value, it should be
   15 excluded because its probative value is substantially outweighed by the risk of
   16 unfair prejudice. See Fed. R. Evid. 403. This is a Halloween photo depicting Mrs.
   17 Bryant in costume as one of the most iconic villains in cinema. Everything about the
   18 image is deliberately exaggerated for cinematic effect. Allowing Defendants to
   19 present this image to the jury as evidence of anything is highly misleading. And
   20 allowing them to present it as evidence of Mrs. Bryant’s reasons for pursuing this
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   23   6
         Because of the issue’s irrelevance, courts routinely prevent even the discovery of
   24   evidence about the plaintiff’s motivations. See e.g., Rhone-Poulenc Rorer Inc. v.
        Home Indem. Co., 1991 WL 183842, at *2 (E.D. Pa. Sept. 16, 1991) (“Courts which
   25   have dealt with this issue... have held that the motive behind the institution of an
   26   action has been deemed not relevant to the subject matter involved pursuant to Fed.
        R. Civ. P. 26(b).”); Digit. Equip. Corp. v. Sys. Indus., Inc., 108 F.R.D. 742, 743 (D.
   27   Mass. 1986) (rule that “institution of the action [i]s deemed not relevant” is
   28   “consistently followed”).

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    1 lawsuit is an invitation to equate this lawsuit with the scheming of a vengeful
    2 eccentric. This should not be tolerated.
    3 XIII. Exhibit 668BL
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   18        Plaintiffs’ Grounds for Objection: Relevance (FRE 402); unfair prejudice,
   19 confusion, and/or waste of time (FRE 403). The Court’s ruling on Plaintiffs’ MIL
   20 No. 3 precludes the parties from introducing “evidence of or mak[ing] reference to
   21 plaintiff’s financial condition.”
   22        Defendants’ Response to the Objection: Exhibit 668BL is a November 2,
   23 2021 public Instagram post by Mrs. Bryant regarding her attending the Gucci Love
   24 Parade fashion show in Los Angeles. As set forth above, Defendants are entitled to
   25 defend against Mrs. Bryant’s claims of severe emotional distress by showing that
   26 other factors in Mrs. Bryant’s life caused her distress.
   27        The Gucci Love Parade fashion show was held on November 2, 2021 outside
   28 the El Capitan Theater in Hollywood. The famed Hollywood Walk of Fame was

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    1 turned into a catwalk for the evening. The Gucci creative director put on a show
    2 presenting over 100 looks to a crowd of all-front-row guests. It was covered by
    3 international media outlines, including Vogue7 and W Magazine8. Two weeks later,
    4 Mrs. Bryant attended the premiere of the “House of Gucci” movie.9
    5           Mrs. Bryant’s ability to attend and participate in high-profile and widely-
    6 publicized events bears directly on her emotional condition during the time period at
    7 issue. Rosales, 2021 WL 4429468, at *6 (“information from social media is
    8 relevant to claims of emotional distress because social media activity, to an extent,
    9 is reflective of an individual’s contemporaneous emotions and mental state.”); see
   10 also Simply Storage Management, LLC, 270 F.R.D. at 436 (context and appearance
   11 of plaintiff in pictures posted on social media relevant to assessment of plaintiff’s
   12 emotional or mental status).
   13           Exhibit 668BL shows Mrs. Bryant attending an event covered by the media
   14 and reported online, and then publicizing it further by posting to her Instagram
   15 account. Mrs. Bryant has put her use of the Internet directly at issue in this case.
   16 She claims that as a result of Defendants’ conduct she avoids going online and
   17 checking her social media accounts. The frequency and content of Mrs. Bryant’s
   18 Instagram posts are highly probative of her claims. The jury is entitled to consider
   19 this evidence.
   20           Plaintiffs’ 403 argument fails for the same reasons set forth above—the risk
   21 of prejudice does not “substantially” outweigh the significant probative value of
   22 Exhibit 668BL and it does not run afoul of the Court’s ruling on MIL 3. And the
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       https://www.vogue.com/slideshow/gucci-hollywood-boulevard-runway-show-
   25 photos
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   26       https://www.wmagazine.com/fashion/gucci-love-parade-guests-models-best-looks
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       https://www.yahoo.com/lifestyle/vanessa-natalia-bryant-rep-gucci-
   28 014414997.html

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    1 jury in this case is going to be forced to evaluate Mrs. Bryant’s claims of emotional
    2 distress largely by her own words and actions since she has never received treatment
    3 or been diagnosed as suffering from emotional distress.
    4         In an effort to reduce the potentially cumulative nature of these posts,
    5 Defendants have withdrawn Exhibit 668BM, which is a similar post depicting Mrs.
    6 Bryant at the same Gucci event.
    7         Plaintiffs’ Response: Exhibit 668BL is a photo dated November 2, 2021,
    8 which depicts Mrs. Bryant in a designer coat and diamond ring. The caption
    9 identifies the outfit as a product of Gucci, a well-known luxury brand. The post is
   10 irrelevant and unfairly prejudicial.
   11         As described above, Mrs. Bryant’s social activities are irrelevant to
   12 determining whether (and to what extent) she has suffered emotional distress from
   13 Defendants’ unconstitutional sharing of photos of her loved ones’ remains. The
   14 mere fact that Mrs. Bryant posted a photo of herself attending a function wearing
   15 Gucci has no tendency to establish the extent of the grief, stress, and other emotional
   16 harm caused by Defendants’ conduct.
   17         Even if this evidence were relevant (it is not), Exhibit 668BL would still be
   18 inadmissible under Rule 403 because it is unfairly prejudicial and contrary to the
   19 Court’s ruling on Plaintiffs’ MIL No. 3. Exhibit 668BL depicts Plaintiff wearing
   20 fashionable clothing and accessories. This evidence necessarily invites jurors to
   21 think about Plaintiffs’ financial status and may be used to insinuate that Mrs.
   22 Bryant’s financial status makes her injury inconsequential or that it mitigates any
   23 damages she endured and will continue to endure.
   24         Plaintiffs’ MIL No. 3 states that “[t]he parties shall not introduce evidence of
   25 or make reference to plaintiff's financial condition.” (Templeton Decl. Ex. A
   26 [7/26/22 Hearing Tr.] at 80:8-9.) Although the ruling permits evidence of Plaintiff’s
   27 occupation and activities, such evidence should not “concern income or financial
   28 status associated with such activities.” (Id. at 80:9-14.) This is precisely Exhibit

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    1 668BL’s natural effect. The exhibit is inadmissible and should not be used in
    2 Defendants’ examination of Mrs. Bryant or for any other purpose.
    3
    4
    5 DATED: August 15, 2022               WILSON SONSINI GOODRICH & ROSATI
                                           Professional Corporation
    6
    7
    8                                      By:                   /s/ Luis Li
                                                                  LUIS LI
    9
   10                                      Attorneys for Plaintiff Vanessa Bryant
   11
        DATED: August 15, 2022             JEROME M. JACKSON LAW OFFICES
   12
   13
   14                                      By:            /s/ Jerome M. Jackson
   15                                                    JEROME M. JACKSON

   16                                      JEROME M. JACKSON
   17                                      jmjlaw@aol.com
                                           JEROME M. JACKSON LAW OFFICES
   18                                      880 Apollo Street, Suite 238
   19                                      El Segundo, California 90245
                                           Telephone: (310) 726-4199
   20                                      Facsimile: (310) 414-0486
   21
                                           Attorneys for Plaintiff Christopher Chester
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    1 DATED: August 15, 2022              OFFICE OF COUNTY COUNSEL
    2
    3
                                          By:          /s/ Jonathan C. McCaverty
    4
                                                     JONATHAN C. McCAVERTY
    5
    6                                     Attorneys for Defendant Los Angeles County
                                          Sheriff’s Department
    7
    8
    9 DATED: August 15, 2022              MILLER BARONDESS, LLP
   10
   11
   12                                     By:               /s/ Mira Hashmall
                                                           MIRA HASHMALL
   13
   14                                     Attorneys for Defendants County of Los
                                          Angeles, Los Angeles County Fire Department,
   15
                                          Joey Cruz, Rafael Mejia, Michael Russell, Raul
   16                                     Versales, Arlin Kahan and Tony Imbrenda
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    1                                FILER ATTESTATION
    2        I, Jason H. Tokoro, attest under Local Rule 5-4.3.4(a)(2)(i) that all other
    3 signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
    4 content and have authorized this filing.
    5
    6   Dated: August 15, 2022                               /s/ Mira Hashmall
                                                            MIRA HASHMALL
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